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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


                                         MDL No. 2867
IN RE:                                   No. 18 C 6785
LOCAL TV ADVERTISING ANTITRUST
LITIGATION                               CONSOLIDATED THIRD AMENDED
                                         ANTITRUST CLASS ACTION
                                         COMPLAINT

                                         PUBLIC REDACTED VERSION

                                         Honorable Virginia M. Kendall

                                         JURY TRIAL DEMANDED
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           Plaintiffs THOUGHTWORX, INC. D/B/A MCM SERVICES GROUP, ONE SOURCE

HEATING & COOLING, LLC, HUNT ADKINS, INC., and FISH FURNITURE (collectively,

“Plaintiffs”), individually and on behalf of all other similarly situated direct purchasers of

broadcast television spot advertising (the “Class,” more fully defined infra), bring this action

under Section 1 of the Sherman Act for treble damages, injunctive relief, and other relief

pursuant to the federal antitrust laws, demanding a trial by jury of all issues so triable. This third

amended complaint:

          Adds new Plaintiffs (Paragraphs 21, 22);

          Adds a new Defendant (Paragraph 45);

          Adds additional circumstantial evidence that demonstrates the per se nature of the price-

           fixing agreement (Paragraphs 98-159);

          Adds new opportunities to conspire (Paragraphs 246-55); and

          Adds relevant excerpts from Defendants’ own documents about how they define

           competitively sensitive information, what constitutes an agreement in an antitrust case,

           and what constitutes prohibited conduct at their respective companies (Paragraphs 145-

           49, 150-52, 155-59, 299).

Plaintiffs allege1 as follows based upon personal knowledge as to the facts pertaining to

themselves, and upon information and belief and the investigation of counsel as to all other

matters:

I.         THE NATURE OF DEFENDANTS’ UNLAWFUL CONDUCT

           1.     This antitrust class action arises from a price fixing cartel facilitated by an

anticompetitive information exchange between and among certain major television station


1
    Quoted text has been bolded for emphasis throughout this complaint.

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owners and operators and sales representative firms to artificially inflate the prices of broadcast

television spot advertisements2 in violation of Section 1 of the Sherman Act (15 U.S.C. § 1).

        2.      Beginning on or around January 1, 2014, CBS Corporation, Cox Media Group,

LLC, 3 Dreamcatcher Broadcasting, LLC, The E.W. Scripps Company, Griffin

Communications, LLC, Fox Corporation, Meredith Corporation, Nexstar Media Group, Inc.,

Gray Media Group (through its acquisition of Raycom Media, Inc.), Sinclair Broadcast Group,

Inc., TEGNA, Inc., Tribune Broadcasting Company, LLC, and Tribune Media Company

(collectively, “Defendants”)—firms that collectively account for billions of dollars in annual

broadcast television spot advertising revenue—secretly orchestrated a unitary, overarching

scheme to supracompetitively impact the price levels of broadcast television spot

advertisements by agreeing to fix prices and exchange competitively sensitive historic, current,

and forward-looking sales data, including inventory or pacing data. Pacing data is used to

compare a broadcast station’s revenues booked for a certain time period to the revenues booked

for the same point in time in the previous year (the exchange of which allows Defendants to




2
 The television advertisements are purchased directly from broadcast television stations (as opposed to
cable operators) and are referred to herein as “broadcast television spot advertising.”
3
  Plaintiffs dismissed all claims against Cox Media Group LLC’s parent entity Cox Enterprises, Inc.
(“Cox Enterprises”) on October 3, 2019. See Pls.’ Notice of Dismissal, ECF No. 315. On or around
December 17, 2019, Cox Enterprises completed the sale of its portfolio of television and radio stations,
Ohio assets, and its affiliated Cox Reps Inc. (“Cox Reps”) and Gamut national advertising businesses to
a new media company now named CMG Media Corporation (f/k/a Terrier Media Buyer, Inc. and d/b/a
Cox Media Group). Cox Reps and the Cox television station assets that are the subject of this Third
Amended Complaint are currently owned or operated by subsidiaries of CMG Media Corporation (f/k/a
Terrier Media Buyer, Inc. and d/b/a Cox Media Group). Although the legal entity called Cox Media
Group, LLC still exists as a subsidiary of Cox Enterprises, Plaintiffs understand that it does not currently
own or operate Cox Reps nor any of the television station assets at issue in this Third Amended
Complaint. Thus, all non-historical allegations regarding Cox Media Group, LLC or Cox Reps in this
Third Amended Complaint, i.e., those that post-date December 17, 2019, shall be interpreted to mean
CMG Media Corporation (f/k/a Terrier Media Buyer, Inc. and d/b/a Cox Media Group).

                                                     2
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forecast their would-be competitors’ remaining inventory of broadcast television spot

advertising), typically expressed as a plus or minus percentage (e.g., plus or minus 20%).

       3.      Both the existence of this data exchange and the data itself were withheld from

purchasers of broadcast television spot advertising, creating an asymmetrical information

advantage for the Broadcaster Defendants (defined infra) in their dealings with their customers

concerning the price of broadcast television spot advertising.

       4.      The information exchanged covered both local and national broadcast television

spot advertising and was disseminated to individuals within the Broadcaster Defendants’

organizations with authority over pricing, with the Broadcaster Defendants’ knowledge and at

their direction. By allowing the Broadcaster Defendants to better understand, in real time, the

availability of their would-be competitors’ inventory through the exchange of pacing data—with

inventory being a, if not the, key factor affecting pricing negotiations—the scheme derailed the

competitive process and allowed the Broadcaster Defendants to avoid price competition,

harming direct purchasers of broadcast television spot advertising in Designated Market Areas

(“DMAs”) throughout the United States. The United States Department of Justice (“DOJ”)

explained the anticompetitive effects of Defendants’ conduct as allowing them to “better []

anticipate whether their competitors were likely to raise, maintain, or lower spot advertising

prices” and “gauge competitors’ and advertisers’ negotiation strategies,” “help[ing Defendants]

resist more effectively advertisers’ attempts to obtain lower prices” and “distort[ing] the normal

price-setting mechanism in the spot advertising market.”

       5.      As the DOJ explained, “Advertisers rely on competition among owners of

broadcast television stations to obtain reasonable advertising rates, but this unlawful sharing of




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information lessened that competition and thereby harmed the local businesses and the

consumers they served.”

        6.      Thus, the DOJ intervened to end what it characterized as “concerted action

between horizontal competitors in the broadcast television spot advertising market,” filing a

series of Proposed Judgments and Stipulations and Orders with Defendants CBS Corporation,

Cox Media Group LLC, Dreamcatcher Broadcasting, LLC, the E.W. Scripps Company, Griffin

Communications, LLC, Fox Corporation, Meredith Corporation, Nexstar Media Group Inc.,

Raycom Media, Inc.,4 Sinclair Broadcast Group, Inc., TEGNA, Inc., and Tribune Media

Company on November 13, 2018, December 13, 2018, and June 17, 2019 (the “Judgments”).

        7.      As described in the DOJ’s Competitive Impact Statement (the “Statement”)

discussed below, the Judgments included a number of provisions designed to “terminate

Defendants’ illegal conduct, prevent recurrence of the same or similar conduct, and ensure that

Defendants establish an antitrust compliance program,” thereby “putting a stop to the

anticompetitive information sharing.”

        8.      The DOJ noted in the Statement that these remedial efforts were “necessary in

light of the extensive history of communications among rival stations that facilitated

Defendants’ agreements” in restraint of trade, and in its Complaint, the DOJ action

“challenge[d] under Section 1 of the Sherman Act Defendants’ agreements to unlawfully

exchange competitively sensitive information among broadcast television stations.”

        9.      As Justice Sotomayor held before her ascension to the United States Supreme

Court, “[i]nformation exchange is an example of a facilitating practice that can help support an


4
  As mentioned below, while Gray Television, Inc. was not named as a defendant in any of the suits
brought by the DOJ, in January of 2019, it finalized the acquisition of Raycom Media, Inc., and Meredith
thereby assumed liability for the acts of the acquired entities.

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inference of a price-fixing agreement.” Todd v. Exxon Corp., 275 F.3d 191, 198 (2d Cir. 2001)

(Sotomayor, J.) (noting that information exchanges can both be evidence of a per se unlawful

price fixing cartel and separately unlawful in and of themselves).5

          10.     The scheme was widespread and effectuated in large part through the same two

national Sales Rep Firms, Katz and Cox Reps (defined infra), which served as the Broadcaster

Defendants’ agents in virtually every relevant DMA (identified in Appendix A) and thus served

as the focal points and conduits of the unitary, overarching scheme among Defendants.

          11.     Also, a number of the Defendants used a common consultant and software

company, ShareBuilders, to help with their inventory management and pricing. ShareBuilders

provided some of its clients with rate cards and/or recommendations that were used to

implement the alleged conspiracy.

          12.     The exchange also served as a means to monitor the members of the price fixing

cartel, as any deviation from the scheme (i.e., what is referred to in the literature as “cheating”

on the cartel) could be easily detected and punished. This exchange not only facilitated the price

fixing cartel, but also itself is separately unlawful under Section 1 of the Sherman Act.

          13.     Plaintiffs bring this antitrust class action lawsuit on behalf of themselves and all

similarly situated direct purchasers of broadcast television spot advertising—who remain

uncompensated for the anticompetitive harm they suffered as a result of the Defendants’ illicit

gains.

II.       JURISDICTION AND VENUE ARE PROPER HERE

          14.     Plaintiffs bring this antitrust class action lawsuit pursuant to Sections 4 and 16 of

the Clayton Act (15 U.S.C. §§ 15 and 26), to recover damages suffered by the Class and the


5
    All emphases to quoted material have been added.

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costs of suit, including reasonable attorneys’ fees; to enjoin Defendants’ and ShareBuilders’

anticompetitive conduct; and for such other relief as is afforded under the laws of the United

States for Defendants’ violations of Section 1 of the Sherman Act (15 U.S.C. § 1).

        15.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1337,

and Sections 4 and 16 of the Clayton Act (15 U.S.C. §§ 15(a), 26).

        16.     Venue is proper in this District pursuant to Sections 4, 12, and 16 of the Clayton

Act (15 U.S.C. §§ 15, 22, and 26), and pursuant to 28 U.S.C. § 1391(b), (c), and (d), because, at

all times relevant to the Complaint, one or more of the Defendants named herein and/or

ShareBuilders resided, transacted business, was found, or had agents in this District or a

transferor District.

III.    DEFENDANTS’ CONDUCT AFFECTED INTERSTATE COMMERCE

        17.     Billions of dollars of transactions in broadcast television spot advertisements are

entered into each year in interstate commerce in the United States and the payments for those

transactions flowed in interstate commerce. Each Broadcaster Defendant sells broadcast

television spot advertising to advertisers throughout the United States or owns and operates

broadcast television stations in multiple states or in DMAs as defined by the television ratings

company Nielsen Holdings, Inc., that often cross state lines. Additionally, the Sales Rep Firms

represent the Broadcaster Defendants throughout the United States in the sale of broadcast

television spot advertising to advertisers, and Defendant ShareBuilders provides its services to

Broadcaster Defendants throughout the United States.

        18.     Defendants’ and ShareBuilders’ manipulation of the market for the sale of

broadcast television spot advertising thus was in the flow of, and had a direct, substantial, and

foreseeable impact on, interstate commerce.



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IV.     THE PARTIES

        A.      The Identities of the Plaintiffs

        19.     Plaintiff Thoughtworx, Inc. d/b/a MCM Services Group (“Thoughtworx”) is an

advertising company headquartered in Minnesota and organized under the laws of Minnesota.

Thoughtworx provides a bundle of services to its advertiser-clients, including consulting,

television advertisement development and research, and purchasing broadcast television spot

advertising time. In order to provide those services, Thoughtworx purchased broadcast

television spot advertising during the Class Period (defined infra) directly from Defendants Cox

Media Group LLC, CBS Corp., Fox Corp., TEGNA Inc., The E.W. Scripps Company, Sinclair

Broadcast Group, Inc., and Tribune Media Company at prices that were supracompetitively

impacted as a result of the conduct alleged herein and has thereby suffered antitrust injury.

        20.     Plaintiff One Source Heating & Cooling, LLC (“One Source”) is a heating,

cooling, and HVAC services provider headquartered in Alabama and organized under the laws

of Alabama. One Source purchased broadcast television spot advertising during the Class Period

directly from Defendants Raycom Media, Inc. and Sinclair Broadcast Group, Inc. at prices that

were supracompetitively impacted as a result of the conduct alleged herein and has thereby

suffered antitrust injury.

        21.     Plaintiffs Hunt Adkins, Inc. (“Hunt Adkins”) is a creative brand advertising

agency located in Minnesota. Hunt Adkins conducts a full spectrum of brand development

services, which includes television advertisement development and research. Hunt Adkins

purchased broadcast television spot advertising during the Class Period directly from at least

Defendants CBS Corp., Cox Media Group, Fox Corp., Nexstar Broadcast Corp., E.W. Scripps,

Sinclair Broadcast Group, Inc., and TEGNA, Inc., and Tribune Media Co. at prices that were



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supracompetitively impacted as a result of the conduct alleged herein and has thereby suffered

antitrust injury.

        22.     Plaintiff Fish Furniture is a furniture store in Cleveland, Ohio. Fish Furniture

purchased broadcast television spot advertising during the Class Period directly from at least

Defendants Tribune, Raycom, and Scripps at prices that were supracompetitively impacted as a

result of the conduct alleged herein and has thereby suffered antitrust injury.

        23.     A comprehensive accounting of those DMAs in which multiple Broadcaster

Defendants purportedly compete (as of 2017) and in which Hunt Adkins, One Source, and

Thoughtworx purchased broadcast television spot advertising from one or more Broadcaster

Defendants is set forth in Appendix A.

        B.      The Identities of the Defendants

        24.     Most of the Defendants named herein entered into consent decrees with the DOJ,

except Gray Media Group, which purchased an entity (Raycom Media, Inc.) that did so, Cox

Media (the subsidiary of an entity that did so) and ShareBuilders.

        25.     Defendant CBS Corp. (“CBS”) is a Delaware corporation with its headquarters at

51 West 52nd Street, New York, New York, 10019. CBS owns or operates 28 television stations

in 18 DMAs and had over $14.5 billion in revenues in 2018.

                a. CBS was named as a defendant by the DOJ in U.S. v. Sinclair Broadcast

                    Group, Inc., et al., No. 1:18-cv-2609 (D.D.C.) for alleged violation of

                    Section 1 of the Sherman Act on June 17, 2019.

                b. That same day, CBS settled with the DOJ over those allegations, entering

                    into a proposed consent decree that, if approved by the court, the DOJ

                    claimed “would resolve the competitive harm alleged in the complaint.” That



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                    settlement was approved on and final judgment was entered by the court on

                    December 3, 2019.

        26.    Defendant Dreamcatcher Broadcasting, LLC (“Dreamcatcher”) was a Delaware

corporation, headquartered at 2016 Broadway, Santa Monica, California 90404, that owned

three full-power television stations in two DMAs and had over $50 million in revenues in 2017.

               a.      Dreamcatcher was named as a defendant by the DOJ in U.S. v. Sinclair

                       Broadcast Group, Inc., et al., No. 1:18-cv-2609 (D.D.C.) for alleged

                       violation of Section 1 of the Sherman Act on November 13, 2018.

               b. That same day, Dreamcatcher settled with the DOJ over those allegations,

                    entering into a proposed consent decree that the DOJ claimed would “restore

                    the competition harmed by the alleged conduct.” That settlement was

                    approved and final judgment was entered by the court on May 22, 2019.

        27.    Tribune Company announced on December 27, 2021, that it completed the final

steps necessary to close its acquisition of Local TV Holdings, LLC. As a result of this

acquisition, Tribune obtained 39 television stations across the country. In addition, Tribune

provided certain services to support the operations of three former Local TV stations owned by

Dreamcatcher Broadcasting LLC.

        28.    Defendant Fox Corp. (“Fox”) is a Delaware corporation with its headquarters at

1211 Avenue of the Americas, New York, New York, 10036, that owns or operates 17

television stations in 17 DMAs. Fox is a corporate entity recently created from certain former

21st Century Fox assets, including its broadcast station assets, after The Walt Disney Company

acquired 21st Century Fox and spun-out Fox. Fox’s television segment earned over $5 billion in

2017.



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                 a.      Fox was named as a defendant by the DOJ in U.S. v. Sinclair Broadcast

                         Group, Inc., et al., No. 1:18-cv-2609 (D.D.C.) for alleged violation of

                         Section 1 of the Sherman Act on June 17, 2019.

                 b. That same day, Fox settled with the DOJ over those allegations, entering into

                      a proposed consent decree that, if approved by the court, the DOJ claimed

                      “would resolve the competitive harm alleged in the complaint.” That

                      settlement was approved and final judgment was entered by the court on

                      December 3, 2019.

         29.     Defendant Gray Media Group (“GMG”)6 is a Georgia corporation headquartered

at 4370 Peachtree Road, NE, Suite 400, Atlanta, Georgia 30319, that owns and operates

television stations and digital assets in the United States.

         30.     On January 2, 2019, Gray Television, Inc. (“Gray TV”) acquired Raycom Media,

Inc. (“Raycom”), and Raycom became a wholly-owned subsidiary of Gray TV. On January 31,

2019, Raycom changed its corporate name to GMG and, as of that date, GMG included, among

other assets, the legacy Raycom owned broadcast television stations. GMG and Raycom are the

same entity. Counsel for GMG has previously referred to, and continues to refer to, GMG and

Raycom as “Raycom” to remain consistent with the Complaint’s allegations. On December 1,

2021, Gray TV acquired Meredith Corporation (“Meredith”), which included Meredith’s Local

Media Group (consisting of its broadcast television station business) and all associated assets.

As of January 2, 2022, an entity holding Meredith’s television station business, and associated

assets, was merged into GMG. GMG now includes, among other assets, the legacy Raycom and



6
  Plaintiffs do not allege, at this time, that Gray TV participated in the alleged conduct directly; merely
that Gray TV is liable for the acts of Raycom Media, Inc. and Meredith, which it acquired.

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Meredith broadcast television station businesses. To remain consistent with the Complaint’s

allegations, Plaintiffs will refer to Raycom in reference to matters relating to television stations

owned by Raycom at the time of the acquisition by Gray TV and will refer to Meredith in

reference to matters relating to television stations owned by Meredith at the time of the

acquisition by Gray TV.

       31.     Gray TV, via its subsidiary, Gray Media Group, acquired Raycom Media, Inc.

(“Raycom”), in January 2019.

               a.      Raycom was named as a defendant by the DOJ in U.S. v. Sinclair

                       Broadcast Group, Inc., et al., No. 1:18-cv-2609 (D.D.C.) for alleged

                       violation of Section 1 of the Sherman Act on November 13, 2018.

               b. That same day, Raycom settled with the DOJ over those allegations, entering

                    into a proposed consent decree that the DOJ claimed would “restore the

                    competition harmed by the alleged conduct.” That settlement was approved

                    and final judgment was entered by the Court on May 22, 2019.

       32.     Raycom was named in the DOJ’s enforcement action on November 13, 2018,

and Gray TV thus purchased Raycom with knowledge of Raycom’s liability to its customers for

violation of the antitrust laws. As part of the acquisition:

               a.      Raycom’s President and Chief Executive Officer, Pat LaPlatney, became

                       Gray TV’s President and Co-Chief Executive Officer. In addition,

                       LaPlatney and Raycom’s prior President and CEO, Paul McTear, joined

                       Gray TV’s Board of Directors, as well as multiple former Raycom

                       managers joined Gray TV as Senior Vice Presidents, including Raycom’s

                       Sandy Breland and Brad Streit. Further, Ellenann Yelverton, Raycom’s



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                     General Counsel, became Gray TV’s Vice President and Deputy General

                     Counsel, overseeing Gray TV’s legal department; Becky Sheffield, from

                     Raycom, joined Gray TV as Vice President, Controller; and former

                     Raycom executive David Burke became Gray TV’s new Senior Vice

                     President and Chief Technology Officer, overseeing all of Gray TV’s

                     engineering and information technology;

              b. Gray TV assumed and fulfilled Raycom’s pending acquisitions of WUPV-

                  DT in the Richmond, VA market and KYOU-TV in the Ottumwa, IA market;

              c. Gray TV acquired, and now operates, 48 television stations from Raycom

                  under the Gray TV name;

              d. Gray TV presently services former Raycom customers through Raycom’s

                  former stations, but now under Gray TV’s name; and

              e. The same employees who worked for Raycom have mostly all maintained

                  their prior positions, working in the same capacities but now for the financial

                  benefit of Gray TV.

        33.   Defendant Griffin Communications, LLC (“Griffin”) is an Oklahoma

corporation, headquartered at 7401 North Kelley Avenue Oklahoma City, Oklahoma 73111, that

owned four full-power television stations in two DMAs and had over $60 million in revenues in

2017.

              a. Griffin was named as a defendant by the DOJ in U.S. v. Sinclair Broadcast

                  Group, Inc., et al., No. 1:18-cv-2609 (D.D.C.) for alleged violation of

                  Section 1 of the Sherman Act on November 13, 2018.




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              b. That same day, Griffin settled with the DOJ over those allegations, entering

                   into a proposed consent decree that the DOJ claimed would “restore the

                   competition harmed by the alleged conduct.” That settlement was approved

                   and final judgment was entered by the Court on May 22, 2019.

       34.    Defendant Meredith Corporation (“Meredith”) is an Iowa corporation,

headquartered at 1716 Locust Street, Des Moines, Iowa 50309, that owned or operated 16

television stations in twelve DMAs and had over $1.7 billion in revenues in 2017.

              a.      Meredith was named as a defendant by the DOJ in U.S. v. Sinclair

                      Broadcast Group, Inc., et al., No. 1:18-cv-2609 (D.D.C.) for alleged

                      violation of Section 1 of the Sherman Act on November 13, 2018.

              That same day, Meredith settled with the DOJ over those allegations, entering

                      into a proposed consent decree that the DOJ claimed would “restore the

                      competition harmed by the alleged conduct.” That settlement was

                      approved and final judgment was entered by the Court on May 22, 2019.

On December 1, 2021, Gray TV closed on its acquisition of Meredith Corporation’s Local

Media Group’s 17 television stations.

       35.    Defendant Nexstar Media Group, Inc. (“Nexstar”), is a Delaware corporation,

headquartered at 545 East John Carpenter Freeway, Suite 700, Irving, Texas 75062, that

operates as a television broadcasting and digital media company in the United States. As of

December 31, 2017, the company owned, operated, programmed, or provided sales and other

services to 170 television stations in 100 DMAs.




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               a.      Nexstar was named as a defendant by the DOJ in U.S. v. Sinclair

                       Broadcast Group, Inc., et al., No. 1:18-cv-2609 (D.D.C.) for alleged

                       violation of Section 1 of the Sherman Act on December 13, 2018.

               b. That same day, Nexstar settled with the DOJ over those allegations, entering

                    into a proposed consent decree that the DOJ claimed would “restore the

                    competition harmed by the alleged conduct.” That settlement was approved

                    and final judgment was entered by the court on May 22, 2019.

       36.     On September 19, 2019, Nexstar announced that it completed the acquisition of

Tribune Media Company in an accretive transaction valued at approximately $7.2 billion

including the assumption of Tribune Media’s outstanding debt. Pursuant to the merger

agreement, Nexstar acquired all outstanding shares of Tribune Media for $46.687397 per share

in cash, inclusive of $0.187397 per share to reflect the final closing date relative to the August

31, 2019 targeted closing date.

       37.     Defendant Raycom is a Delaware corporation, headquartered at 201 Monroe

Street, Montgomery, Alabama 36104, that owned or operated 65 television stations in 45 DMAs

and had over $670 million in revenues in 2017. Raycom was purchased by Gray TV in 2018 for

$3.65 billion in a deal that was finalized in January of 2019.

               a.      Raycom was named as a defendant by the DOJ in U.S. v. Sinclair

                       Broadcast Group, Inc., et al., No. 1:18-cv-2609 (D.D.C.) for alleged

                       violation of Section 1 of the Sherman Act on November 13, 2018.

               b. That same day, Raycom settled with the DOJ over those allegations, entering

                    into a proposed consent decree that the DOJ claimed would “restore the




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                    competition harmed by the alleged conduct.” That settlement was approved

                    and final judgment was entered by the Court on May 22, 2019.

       38.     Defendant The E.W. Scripps Company (“Scripps”) is an Ohio corporation

headquartered at 312 Walnut Street, Cincinnati, Ohio, 45202, that owns or operates 60

television stations in 42 DMAs and had over $917 million in revenues in 2018.

               a.      Scripps was named as a defendant by the DOJ in U.S. v. Sinclair

                       Broadcast Group, Inc., et al., No. 1:18-cv-2609 (D.D.C.) for alleged

                       violation of Section 1 of the Sherman Act on June 17, 2019.

               b. That same day, Scripps settled with the DOJ over those allegations, entering

                    into a proposed consent decree that, if approved by the court, the DOJ

                    claimed “would resolve the competitive harm alleged in the complaint.” That

                    settlement was approved and final judgement was entered by the court on or

                    about December 3, 2019.

       39.     Defendant Sinclair Broadcast Group, Inc. (“Sinclair”), is a Maryland corporation,

headquartered at 10706 Beaver Dam Road, Hunt Valley, Maryland 21030, that operates as a

television broadcast company in the United States. As of December 31, 2017, it owned,

operated, and/or provided services to 191 stations in 89 DMAs, which broadcast 601 channels.

In 2017, it reported revenues in excess of $2.7 billion.

               a.      Sinclair was named as a defendant by the DOJ in U.S. v. Sinclair

                       Broadcast Group, Inc., et al., No. 1:18-cv-2609 (D.D.C.) for alleged

                       violation of Section 1 of the Sherman Act on November 13, 2018.

               b. That same day, Sinclair settled with the DOJ over those allegations, entering

                    into a proposed consent decree that the DOJ claimed would “restore the


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                    competition harmed by the alleged conduct.” That settlement was approved

                    and final judgment was entered by the Court on May 22, 2019.

       40.     Defendant TEGNA Inc. (“TEGNA”) is a Delaware corporation headquartered at

8350 Broad Street, Tysons, Virginia 22102, that owns or operates 49 television stations in 41

DMAs and had $2.2 billion in revenues in 2018.

               a.      TEGNA was named as a defendant by the DOJ in U.S. v. Sinclair

                       Broadcast Group, Inc., et al., No. 1:18-cv-2609 (D.D.C.) for alleged

                       violation of Section 1 of the Sherman Act on June 17, 2019.

               b.      That same day, TEGNA settled with the DOJ over those allegations,

                       entering into a proposed consent decree that, if approved by the court, the

                       DOJ claimed “would resolve the competitive harm alleged in the

                       complaint.” That settlement was approved and final judgment was

                       entered by the court on December 3, 2019.

       41.     Defendant Tribune Broadcasting Company, LLC (“Tribune Broadcasting”), is a

Delaware limited liability company headquartered at 515 North State Street, Chicago, Illinois

60654, that operates as a media and entertainment company in the United States. It offers news,

entertainment, and sports programming through Tribune Broadcasting local television stations,

including FOX television affiliates, CW Network television affiliates, CBS television affiliates,

ABC television affiliates, MY television affiliates, NBC television affiliates, and independent

television stations; and television series and movies on WGN America, a national general

entertainment cable network. Tribune owned 42 broadcast television stations in approximately

33 DMAs in 2017. It had over $670 million in revenues in 2017.




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       42.     Defendant Tribune Media Company (“Tribune Media,” and collectively with

Tribune Broadcasting, “Tribune”), is a Delaware corporation headquartered at 435 North

Michigan Avenue, Chicago, Illinois 60611, and operates, through its subsidiaries, as a media

and entertainment company in the United States. It offers news, entertainment, and sports

programming through Tribune Broadcasting local television stations, including FOX television

affiliates, CW Network television affiliates, CBS television affiliates, ABC television affiliates,

MY television affiliates, NBC television affiliates, and independent television stations; and

television series and movies on WGN America, a national general entertainment cable network.

Tribune owned 42 television stations in 33 DMAs in 2017.

               a.      Tribune was named as a civil defendant by the DOJ in U.S. v. Sinclair

                       Broadcast Group, Inc., et al., No. 1:18-cv-2609 (D.D.C.) for alleged

                       violation of Section 1 of the Sherman Act on November 13, 2018.

               b. That same day, Tribune settled with the DOJ over those allegations, entering

                    into a proposed consent decree that the DOJ claimed would “restore the

                    competition harmed by the alleged conduct.” That settlement was approved

                    and final judgment was entered by the court on May 22, 2019.

       43.     Defendant Cox Media Group, LLC, (“Cox Media”) is a Delaware corporation

headquartered at 6205 Peachtree Dunwoody Road, Atlanta, Georgia, 30328, and operates,

through its subsidiaries, as a media company in the United States. It is a subsidiary of Cox

Enterprises and holds Cox Enterprises’ broadcasting, publishing, digital, and sales units. Cox

Media operates in 20 DMAs and reaches approximately 52 million Americans weekly. Through

its division, Cox Reps, it operates as a national television representative company (a Sales Rep

Firm) in the United States. As of March 2019, Cox Reps represented 30 of Tribune’s owned and



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operated full-power television stations, 33 Sinclair full-power television stations, 4 Griffin full-

power stations, 12 Meredith full-power stations, 16 full-power Nexstar stations, 3 Scripps full-

power stations, 10 Cox full-power stations, 7 CBS full-power stations, 2 Fox full-power

stations, and 39 TEGNA full-power stations. Cox Reps represented Raycom’s television

stations prior to the latter’s acquisition by Gray TV.

        44.    As described above, Cox Media’s parent, Cox Enterprises, was named as a civil

defendant by the DOJ in U.S. v. Sinclair Broadcast Group, Inc., et al., No. 1:18-cv-2609

(D.D.C.) on June 17, 2019 and settled with the DOJ on the same day, entering into a proposed

consent decree for alleged violation of Section 1 of the Sherman Act, in part as a result of the

unlawful acts of Cox Media as a conduit of the anticompetitive scheme.

        45.    Defendant ShareBuilders, Inc. (“ShareBuilders”) is an Illinois corporation

headquartered at 90 Eastgate DR, Washington, Illinois, 61571. ShareBuilders is a national

media company that operates as a provider of yield management solutions for the broadcast

media sales industry in the United States. ShareBuilders’ clientele includes over 300 television

stations.

        46.    CBS, Cox Media Group LLC, Dreamcatcher, Fox, Griffin, Meredith, Nexstar,

Raycom, Scripps, Sinclair, TEGNA, and Tribune are referred to collectively as the “Broadcaster

Defendants.”

        47.    Various persons and/or firms not named as Defendants herein may have

participated as co-conspirators in the violations alleged herein and may have performed acts and

made statements in furtherance thereof.




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         48.    Katz Media Group, Inc. (“Katz”)7 is a national media representation company in

the United States, including operating as a national television representative company (a Sales

Rep Firm). Through its division, Katz Television Group, Katz represents the assets of television

stations to provide marketing solutions to advertisers and agencies. As of March 2019, Katz

represented 86 Nexstar owned and operated full-power television stations, 2 Meredith full-

power stations, 8 Tribune full-power stations, 66 Sinclair full-power stations, 23 Scripps full-

power stations, 1 Cox full-power station, 2 Fox full-power stations, and 5 TEGNA full-power

stations.

         49.    While the DOJ did not name Katz, the DOJ has stated that “Cox Reps is one of

two large ‘Rep Firms’ in the industry that assist broadcast stations in sales to national

advertisers. The Rep Firms are alleged to have participated in the unlawful information sharing

conduct.” Katz is the only other major, national Rep Firm the DOJ could be referencing.

         50.    Cox Reps and Katz are referred to collectively as the “Sales Rep Firms.” These

Sales Rep Firms “function as extensions of a station’s sales staff and are familiar with various

rate cards (prices) and program research demographics.” And as the DOJ noted, these two Sales

Rep Firms facilitated the “exchange[ of] real-time pacing information” between Defendants.

The Sales Rep Firms are sophisticated industry participants that regularly communicate with

each Broadcaster Defendant remotely (e.g., emails, telephone calls) and in person to serve the

Broadcaster Defendants’ demands. And the Sales Rep Firms’ continued profitability is tied to

satisfying those demands and maintaining relationships with the Broadcaster Defendants.




7
 Katz was previously named as a defendant in this case. Katz petitioned for bankruptcy protection in
March 2018, and a bankruptcy plan discharged any of Plaintiffs’ claims in May 2019.

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V.     THE DOJ BRINGS AN ENFORCEMENT ACTION AGAINST
       BROADCASTERS AND A REP FIRM FOR VIOLATION OF SECTION 1 OF
       THE SHERMAN ACT

       51.     On November 13, 2018, the DOJ filed its original complaint in United States v.

Sinclair Broadcast Group, Inc., et al., No. 1:18-cv-2609 (D.D.C.), along with proposed

settlements with six defendants, Raycom, Meredith, Griffin, Dreamcatcher, Sinclair, and

Tribune.

       52.     On Dec. 13, 2018, the Department filed an amended complaint and a proposed

settlement with a seventh defendant, Nexstar.

       53.     The court entered final judgment against all seven defendants on May 22, 2019.

       54.     On June 17, 2019, the DOJ filed a second amended complaint along with

proposed settlements with five additional defendants, CBS, Cox, Scripps, Fox, and TEGNA.

       55.     In its June 17, 2019 press release, the DOJ once again stated how the information

exchange orchestrated by Defendants hurt the competitive process: “By exchanging pacing

information, the five new defendants and other broadcasters were better able to anticipate

whether their competitors were likely to raise, maintain, or lower spot advertising prices, which

in turn helped inform their stations’ own pricing strategies and negotiations with advertisers. As

a result, the information exchanges harmed the competitive price-setting process in markets for

the sale of spot advertisements.”

       56.     The court entered final judgment against these additional defendants on

December 3, 2019.

       57.     The DOJ’s Judgments prohibit the exchange of several types of competitively

sensitive information for seven years: “pricing, pricing strategies, pacing, holding capacity,

revenues, or market shares.”



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VI.      DEFENDANTS FORMED AND PARTICIPATED IN AN UNLAWFUL PRICE
         FIXING CARTEL FACILITATED BY AN INFORMATION EXCHANGE

         A.     Defendants Agreed to Fix Prices for Broadcast Television Spot Advertising
                Sales and That Agreement Was Facilitated by an Information Exchange

         58.    Beginning no later than January 1, 2014, Defendants participated in an unlawful

price fixing cartel to supracompetitively impact the price levels of broadcast television spot

advertising in DMAs in which Broadcasters Defendants were, purportedly, supposed to be

direct competitors.

         59.    Defendants’ price fixing cartel was facilitated in large part through a reciprocal

exchange of competitively sensitive information.8 This exchange included, among other things,

(a) pacing information (i.e., data on remaining inventory or supply) (b) average price data

through third party Kantar, available at a granular level broken down by DMA and inventory

type (e.g., early news, late news, prime time) as well as (c) other forms of competitively

sensitive sales information (including but not limited to information exchanged through

ShareBuilders).

         60.    As discussed above and below, merely exchanging competitively sensitive

information among competitors can cause anticompetitive effects and violate the Sherman Act.

                1.      The Broadcaster Defendants Exchanged Competitively Sensitive
                        Information Through Sales Rep Firms and Directly With One
                        Another

         61.    As revealed in the DOJ’s investigation, related court filings, and the investigation

of counsel, this exchange of competitively sensitive information took at least two forms.




8
 The DOJ defined “Competitively Sensitive Information” as “Non-Public Information relating to pricing
or pricing strategies, pacing, holding capacity, revenues, or market shares” as well as “reports” that are
“customized or confidential to a particular Station or broadcast television station group.”

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       62.     First, Defendants agreed to regularly and reciprocally exchange local sales

pacing information through the Sales Rep Firms, including real-time pacing information

regarding each station’s revenues, and reported the information to the Broadcaster Defendants

in the DMA.

       63.     Pacing information is used to compare a broadcast station’s revenues booked for

a certain time period (either a current or future period) to the revenues booked for the same

point in time in the previous year. It is accompanied by a percentage figure (i.e., that a station’s

revenue indicates that it is pacing plus or minus 10%, 20%, 30%, or so on). Pacing indicates

how each station is performing compared to the rest of the market and provides insight into each

station’s remaining broadcast television spot advertising inventory for a current or future period.

The exchange of pacing information reveals the Broadcaster Defendants’ remaining supply,

with supply being a, if not the, key factor informing negotiations over price.

       64.     Those exchanges were systematic and included data on individual stations’

booked sales for current and future months as well as a comparison to past periods. The

exchanges covered not just historic competitively sensitive information, but current and

forward-looking information as well. Specifically, but not exclusively, at least once per quarter,

but frequently more often, the Sales Rep Firms representing the Big 4 Stations (ABC, CBS,

Fox, and NBC, and their affiliated networks) in a DMA exchanged real-time pacing information

regarding the broadcast stations within that DMA and reported the information to the

Broadcaster Defendants and to the other Big 4 Station owners in the DMA.

       65.     Corroborating the DOJ’s claim of systematic exchanges, Sinclair’s Maria Stalter

testified during her 2018 U.S. Department of Justice deposition that she would often request

market competitive information from her contact at Katz, and would in turn provide Katz with



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Sinclair’s current and competitively-sensitive pacing information to share with Sinclair’s

competitors. Stalter confirmed that this was “a common industry practice.”

       66.     In those DMAs in which the Sales Rep Firms represented more than one

Broadcaster Defendant, they erected firewalls intended to prohibit and prevent the dissemination

of competitively sensitive information between the teams representing different Broadcaster

Defendants. In those DMAs, the Sales Rep Firms facilitated these information exchanges among

rival Broadcaster Defendants in violation of and in intentional disregard of those firewalls.

       67.     Once the Sales Rep Firms shared the information with the Broadcaster

Defendants, their competitors’ pacing information was then disseminated to individuals within

the Broadcaster Defendants with authority over pricing and sales, always with the Broadcaster

Defendants’ knowledge and frequently at their explicit direction.

       68.     The exchanges by Sales Rep Firms were widespread, occurring in DMAs across

the United States, and they occurred with the knowledge of and frequently at the instruction of

the Broadcaster Defendants. As of March 2019, Cox Reps or Katz represented at least one

Broadcaster Defendant in 125 of 127 DMAs where more than one Broadcaster Defendant was

present and in 68 of those DMAs (identified in Appendix A) Cox Media or Katz counted more

than one Broadcaster Defendant as a client.

       69.     Second, in some DMAs, the Broadcaster Defendants exchanged competitively

sensitive information directly with one another, without using the Sales Rep Firms as a conduit.

       70.     These direct inter-seller exchanges included both “local sales” pacing data as

well as “all sales” or “national sales” pacing data.

       71.     Additionally, the Broadcaster Defendants all provide data to Kantar’s SRDS

platform, which then disseminates that data in an aggregated form to Defendants.



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       72.     Kantar collects advertisement airing data by continuously monitoring local

television stations’ broadcast feeds, while the Broadcaster Defendants provide retrospective (45-

90 days’ old) average pricing data for broadcast television spot advertising data to Kantar,

which in turn creates reports that are purchased by and disseminated to the Broadcaster

Defendants. Kantar’s SRDS Media Planning Platform’s data is broken down granularly by, inter

alia, DMA (i.e., by relevant geographic market) and inventory type (e.g., early news, late news,

prime time). Kantar’s website states that: “Agencies and brands use SRDS as an affordable, all-

in-one resource to find and compare digital and traditional media across business, consumer and

geographic audiences. They rely on this extensive dataset of U.S. media to make informed

decisions and initiate contact with media reps directly from the planning platform.”

       73.     The information provided tells the Broadcaster Defendants, among other things,

the average cost-per-point (i.e., the price) for broadcast spot television advertising broken down

by specific DMA and by specific daypart (e.g., early news, late news, prime time). Multiplying

the average cost-per-point for a market profile (i.e., DMA and daypart) times the Nielsen ratings

for a given television program provides the Broadcaster Defendants with an estimate of how

pricing would be set for a given program in a given DMA.

       74.     This exchange served to bolster the efficacy of the pacing data exchange, by

allowing the Broadcaster Defendants to better rule out the possibility that an increase or

decrease in revenue pacing was being driven by increases or decreases in, inter alia, the prices

of broadcast spot television advertising, and stabilizing prices at anticompetitive levels by

removing uncertainty surrounding price discovery.

       75.     Furthermore, the direct inter-seller exchanges and exchanges through the Sales

Rep Firms were not made available to Plaintiffs and the members of the Class and were not



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otherwise publicly available or accessible; while the Nielsen ratings and Kantar SRDS data is

publicly available, if at all, only at a substantial cost. The only conceivable procompetitive

purpose of exchanging this information would be if it were freely shared with advertising

customers, allowing them to better time their purchases or construct their media plans. By

concealing the exchange from their customers and making the information non-public,

Defendants reveal that the exchange was for an anticompetitive purpose.

               2.      Such Systematic Exchanges of Non-Public Competitively Sensitive
                       Information Violate Section 1 of the Sherman Act

       76.     Defendants’ conduct amounts to an unlawful agreement—implicit or express—

violative of Section 1 of the Sherman Act. The conduct affected many DMAs across the

country, including at a minimum every DMA in which a Sales Rep Firm represented two or

more Broadcaster Defendant owners or operators, as identified in Appendix A.

       77.     Specifically, the DOJ stated that “[t]he exchanges were systematic and typically

included non-public pacing data on national revenues, local revenues, or both, depending on the

DMA. The Complaint further alleges that certain Defendants engaged in the exchange of other

forms of competitively sensitive information relating to spot advertising in certain DMAs.”

       78.     In its 2017 Annual Report, Sinclair stated that “fluctuations in advertising rates

and availability of inventory” was an “Industry Risk,” so clearly knowing its rival’s inventory

would illegally temper and mitigate that risk.

       79.     In the broadcast television spot advertising market, there is—all else equal—an

inverse relationship between inventory and pricing strategy. If behaving competitively, firms

with moderate to high remaining inventory are more incentivized to compete on price because if

they price aggressively high, they risk a large loss of market share; conversely, firms with low




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remaining inventory are less subject to the risk of a large loss of market share (because they

have already sold most of their inventory) and thus are less incentivized to compete on price.

       80.     However, if a firm knows that both it and its rival have low remaining inventory

(and knows that its rival shares this knowledge), the low inventory firms’ incentives to compete

on price are further dampened because the rivals know neither’s inventory situation is likely to

compel it to engage in a price war with the another (i.e., they are more confident that there is not

a moderate to high inventory firm in the mix that is more incentivized to compete on price).

Indeed, if rivals know that one another have high or moderate remaining inventory (and know

that each firm shares that knowledge), the scheme works effectively the same: the firms can be

confident one another are on a level playing field, in essentially the same position of strength in

terms of price negotiations (although their customers remain unaware of this), and thereby chill

the incentive to compete aggressively on price by removing competitive uncertainty.

       81.     In fact, even in situations where one firm has higher and another lower inventory,

their incentives to compete are distorted. Suppose firm A has high inventory and firm B has low

inventory and each firm knows the other’s relative position. Because of the asymmetrical

information problem created by the information exchange, firms A and B have an informational

advantage—which their customers do not—that enables firm A to foresee that firm B will not

compete on price because of firm B’s low inventory. This knowledge allows firm A to more

confidently keep prices high because it is no longer uncertain about firm B’s competitive

position; without this knowledge, the uncertainty would have incentivized firm A to compete

more vigorously on price to maintain market share. In the same vein, firm B knows that firm A

possesses this knowledge and that firm A can thus confidently keep prices high, allowing firm B




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to safely avoid the temptation to compete with firm A on price that would persist if the firms

remained uncertain about their respective competitive situations.

       82.     In each situation, the anticompetitive effects are only amplified by the fact that

the advertising customers do not have the confidential information exchanged among the

Defendants or are even aware of the fact that Defendants are exchanging that confidential

information, putting them at a severe asymmetrical information disadvantage vis-à-vis the

Broadcaster Defendants with respect to the pricing of broadcast television spot advertising.

       83.     Indeed, this is precisely the theory of anticompetitive effects advanced by the

DOJ: “By exchanging pacing information, the broadcasters were better able to anticipate

whether their competitors were likely to raise, maintain, or lower spot advertising prices . . . .

[H]arming the competitive price-setting process.” In that same public statement, the DOJ’s

Assistant Attorney General for the Antitrust Division Makam Delrahim confirmed the

anticompetitive effects of Defendants’ unlawful conduct, noting “[a]dvertisers rely on

competition among owners of broadcast television stations to obtain reasonable advertising

rates, but this unlawful sharing of information lessened that competition and thereby harmed the

local businesses and the consumers they serve.”

       84.     The DOJ elaborated in its June 17, 2019 Competitive Impact Statement that

“[u]nderstanding competitors’ pacing can help stations gauge competitors’ and advertisers’

negotiation strategies, inform their own pricing strategies, and help them resist more effectively

advertisers’ attempts to obtain lower prices by playing stations off of one another.

[Defendants’] information exchanges therefore distorted the normal price-setting mechanism in

the spot advertising market and harmed the competitive process within the affected DMAs.”




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       85.     The information exchange thus eliminates or softens price competition by

distorting the incentives of the firms involved. And even in DMAs where the Broadcaster

Defendants ostensibly faced some meaningful degree of competition from non-colluding rivals,

the higher prices among the colluding firms created residual demand for broadcast spot

television advertising that in turn increases the prices offered even by the non-colluding firms.

This means that the non-colluding firms do not discipline the cartel’s supracompetitive pricing.

       86.     The exchanges also helped the Broadcaster Defendants monitor the cartel. The

Broadcaster Defendants were deterred from breaking from the cartel by lowering prices to steal

market share (i.e., “cheating” on the cartel) because lowering prices to competitive levels to any

meaningful degree, and the commensurate market share shift, would be easily identified through

the exchanged information.

       87.     These exchanges, whether direct or through the Sales Rep Firms as conduits, also

violate the information exchange safe harbors enumerated by the Federal Trade Commission

(“FTC”) in 2014 and the DOJ in 2016.

               a.      First, those safe harbors dictate that the exchange consists of information

                       that is relatively old, while here, the exchanges were of real-time and

                       forward-looking information.

               b. Second, those safe harbors dictate that the exchange of information be

                    operated by a neutral third party, while here, the exchanges were made

                    directly between competitors and through interested Sales Rep Firms that

                    also stood to profit from the information exchange.




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                c. Third, those safe harbors dictate that the information exchange be of

                    aggregated data. Here, to the contrary, the exchange involved disaggregated

                    data specific to individual competitors.

        88.     A 2010 report prepared by a United States delegation (including the DOJ) and

submitted to the Organization for Economic Cooperation and Development notes that: “In

addition to serving as evidence of an unlawful agreement, information exchanges likely to affect

prices may, under certain circumstances, be illegal in and of themselves.”

        89.     That 2010 Guidance from the DOJ also notes that information exchanges can

“serv[e] as evidence of an unlawful agreement” to fix prices, and also “be illegal in and of

themselves,” constituting “concerted action [] sufficient to establish a combination or

conspiracy in violation of Sherman Act § 1.”

        90.     2014 Guidance from the FTC confirms that when “competing companies seek

market intelligence by exchanging price or other commercially sensitive information, that may

facilitate collusion . . . in violation of the antitrust laws.”

        91.     Likewise, 2016 guidance from the DOJ confirms that “[e]ven if an individual

does not agree explicitly to fix [prices] or other terms [of sale], exchanging competitively

sensitive information could serve as evidence of an implicit illegal agreement.”

        92.     One academic notes that “[w]ith regard to firm-specific production information,

again there is no reasonable explanation for such a conveyance by a noncollusive seller to

another noncollusive seller. Unilateral knowledge of a rival’s capacity utilization, inventory

levels, or production costs will increase expected returns in any competitive bidding process.”

        93.     In 2006, the Swedish Competition Authority commissioned several papers on the

economic effects of information sharing by competitors. These articles contain references to a



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large number of scholarly publications. The introductory essay states: “information sharing is

most naturally defined as the sharing of such information that is normally regarded as

confidential: production costs, detailed information about quantities sold, actual transactions

prices (i.e., including individual discounts), planned future pricing, et cetera.” The introduction

also states that “if competitors secretively share information on intended future pricing and

output, this comes very close to actually making anti-competitive agreements.” The same

volume states: “[i]ndeed, in some circumstances it may be that the mere exchange of

information will in itself be sufficient to eliminate normal competitive activity. The overriding

principle is that certain forms of contact between competitors should be avoided.”

       94.     Another article by Baltzer Overgaard and H. Peter Mollgaard states that “it is

relatively well-established in the economics literature that horizontal coordination/collusion

(whether tacit or explicit) is made difficult—if not impossible—if firms compete under a veil of

ignorance concerning the actions of rivals. . . . Speedy access to accurate information about the

individual past transactions and future intentions of rivals will generally have a strong

coordinating potential.” The summary characterization of the research that is reviewed in this

article is as follows. “Pulling the two sides of the market together, we may (tentatively)

conclude that improved information flow on the firm side will likely enhance the scope for

coordinated firm behavior, while improved information on the consumer side may enhance

competition. . . . Ideally, antitrust practice should attempt to [promote a regime where] actual

competitors are covered by a veil of ignorance with respect to the actions of their rivals.”

       95.     The Antitrust Guidelines for Collaborations Among Competitors states:

               Nevertheless, in some cases, the sharing of information related to a market
               in which the collaboration operates or in which the participants are actual
               or potential competitors may increase the likelihood of collusion on matters
               such as price, output, or other competitively sensitive variables. The

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               competitive concern depends on the nature of the information shared.
               Other things being equal, the sharing of information related to price,
               output, costs, or strategic planning is more likely to raise competitive
               concern than the sharing of information relating to less competitively
               sensitive variables. Similarly, other things being equal, the sharing of
               information on current operating and future business plans is more likely
               to raise concerns than the sharing of historical information. Finally, other
               things being equal, the sharing of individual company data is more likely
               to raise concern than the sharing of aggregated data that does not permit
               recipients to identify individual firm data.

       96.     Nexstar’s own “Code of Business Conduct” acknowledged that there is an

unethical and improper way to gather competitively sensitive information: “Competitive

information is a valuable tool that allows us to understand and manage our markets, products,

and services so we can better meet our customers’ needs. However, we must gather and use that

information properly. It is important that we comply with the law in acquiring information. . .

. It is also important that we acquire information ethically.”

       97.     Implicit, as well as express, agreements are per se illegal under Section 1 of the

Sherman Act because “[s]ophisticated conspirators often reach their agreements as much by the

wink and the nod as by explicit agreement, and the implicit agreement may be far more potent,

and sinister, just by virtue of being implicit.” Meyer v. Kalanick, 174 F. Supp. 3d 817, 825

(S.D.N.Y. 2016); see also Kleen Prod. LLC v. Georgia-Pac. LLC, 910 F.3d 927, 936 (7th Cir.

2018) (“The task before any plaintiff is thus to find and produce evidence that reveals

coordination or agreement (even a wink and a nod—formal agreements have never been

required for purposes of Sherman Act section 1)[.]”).

               3.      Additional Circumstantial Evidence Demonstrates the Per Se Nature
                       of The Price-Fixing Agreement

       98.     Because of the secrecy involved in an illegal conspiracy to fix prices, “most

cases are constructed out of a tissue of [ambiguous] statements and other circumstantial

evidence, since an outright confession will ordinarily obviate the need for a trial.” In re High

                                                 31
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Fructose Corn Syrup Antitrust Litigation, 295 F.3d 651, 662 (7th Cir. 2002). In addition to the

extensive exchange of pacing information among Defendants that was the subject of the U.S.

Department of Justice’s civil action and consent decrees, Defendants engaged in other contacts

that demonstrates a per se price fixing violation of Section 1 of the Sherman Act.

                      a.     Use of Defendant ShareBuilders Among Defendant Broadcast
                             Stations to Share Pricing and Holding Capacity Intelligence

       99.     ShareBuilders is a national media company that operates as a consultant and

provider of so-called yield management solutions for the broadcast media sales industry in the

United States. ShareBuilders’ clientele includes over 300 television stations, some of which are

owned or affiliated with Defendant Broadcaster stations.

       100.




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          101.    ShareBuilders shared information among Defendant Broadcast stations,

including Custom Station Reports, rate cards, and “Holding Capacity.” ShareBuilders also

provided “weekly bottom” prices for broadcast television advertising to several Defendants,

which at least some of the Defendants used as the “lowest rates [they]… should go for any

given program in a specific week.”

          102.    ShareBuilders was overt about its purpose, which was to help television

broadcasters “navigate the complexities of a competitive market” in television advertising. 9 Its

stated mission is “To increase client profitability by decreasing their pricing workload and

increasing their revenue with sophisticated yield management concepts and software.” 10 As

ShareBuilders explains, “Yield management is the process of appropriately managing pricing

and inventory to maximize or grow revenue. It's a system of adjusting prices in response to

market behavior, and choreographing buying behavior, timing and pricing to get the best result.”

          103.    In fact, ShareBuilders claimed that its research has shown that its client stations

perform as much as 5% better in the first two years of working with it than its clients would

have without its system. This translates into a profit margin of over 98% on average.

          104.    Since its founding in 1999, ShareBuilders has steadily expanded its influence

over the pricing of broadcast television advertising. The company highlights this trajectory in

various marketing statements that it has made in different versions of its website over the years:

                  a.      In a 2003 version of the website, ShareBuilders claimed to be “pricing

                          over $1 billion of local television time each year” and that its “clientele




9
    https://www.share-builders.com/products/sharebuilder-tv/.
10
     https://web.archive.org/web/20031218181634/http://www.share-builders.com/.

                                                    33
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                          has grown to over 50 stations in 18 different broadcast groups in just over

                          2 years.”11

                  b. In a 2007 version of the website, ShareBuilders claimed to be “pricing over

                      $2 billion of local television and radio time each year,” that “[t]his equates to

                      1 out of every 10 commercials sold in the country in local TV,” and that its

                      “clientele has grown to over 150+ stations in 28 different broadcast groups in

                      just over 6 years!”12

                  c. In a 2011 version of the website, ShareBuilders claimed that “[i]n 2010, our

                      local broadcast TV clients billed about $3.7 billion, which we estimate to be

                      1 out of every 5 commercials sold on English-speaking network affiliates”

                      and that its “clientele has grown to over 200 stations . . . in just over 10

                      years!” 13

                  d. In a 2021 version of the website, ShareBuilders claimed that “[i]n 2017, our

                      local broadcast TV clients billed almost $6.2 billion, about 36% of the total

                      spot TV revenue that year. Our clientele has grown to over 300 television

                      stations, radio stations, and cable MSO’s.”14

          105.    A website testimonial15—deleted since the inception of this litigation—explicitly

revealed the interconnection between ShareBuilders and pricing: from Sarah Smith, General




11
     https://web.archive.org/web/20031218181634/http://www.share-builders.com/.
12
     https://web.archive.org/web/20070808152738/http:/www.share-builders.com/.
13
     https://web.archive.org/web/20110420021735/http://www.share-builders.com/.
14
     https://web.archive.org/web/20210412184347/https://www.share-builders.com/about-us/.
15
  https://web.archive.org/web/20060721114723/http://www.share-builders.com/testimonials.htm
(emphasis in original).

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Sales Manager, KVUE: “I’ll admit it took some time to trust the system and not waver from the

pricing structure.”

          106.    Another website testimonial— again taken down since the inception of this

litigation—featured another revealing testimonial from Defendant Scripps about how

ShareBuilders’s market insights influenced pricing: “ShareBuilders allows us to proactively

price and have confidence to not engage in the ‘race to the bottom’ . . . . We feel the accuracy

in holding capacity continues to help us price aggressively to get more than our fair share at

times. . . .”16

          107.    Michelle Stiens, Director of Sales and Marketing, KHOU (owned by TEGNA),

previously stated on ShareBuilders’ website (that has since been deleted) that “Our traffic

system downloads all the pertinent data in the Sharebuilder system and produces excellent

reports for pricing.”17

          108.    ShareBuilders shared detailed holding capacity information with some

Defendants, including historical, current, and near-future holding capacity shares, across should-

be competitor stations within a particular DMA.

          109.    ShareBuilders also received “pacing feeds” from at least one Defendant.

          110.    ShareBuilders promoted a yield management software to the Broadcaster

Defendants as a way for them to effectively manage forecasting and pricing. ShareBuilders’

marketing documents offered to give its clients a “picture of what is happening in the market as

a whole” by giving access to “holding capacity” data.




16
     https://web.archive.org/web/20190331181408/https://www.share-builders.com/.
17
     https://web.archive.org/web/20031125155250/http://share-builders.com/testimonials.htm.

                                                    35
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       111.    ShareBuilders’ website described holding capacity as “a measurement of a

station’s ability to hold revenue within a Broadcast Television DMA… A useful Holding

Capacity model will not only tell a client their expected share of a market’s revenue, but also

provide a picture of what is happening in the market as a whole. . . . Holding Capacity is a tool

that can be used to predict future share trends. Remember, you’re not forecasting and pricing in

a vacuum!”

       112.    At least Defendants Cox Media Group, Dreamcatcher, Griffin, Meredith,

Nexstar, Raycom, Scripps, Sinclair, TEGNA, and Tribune received Holding Capacity Reports

from ShareBuilders.

       113.




       114.




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     115.




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        116.    In the Consent Decrees entered by the Department of Justice, some Defendants

are prohibited from Communicating Competitively Sensitive Information to any Station in the

same DMA Defendant does not own or operate; Knowingly use Competitively Sensitive

Information18 from or regarding any Station in the same DMA Defendant does not own or

operate; Encourage or facilitate the Communication of Competitively Sensitive Information to

or from any Station in the same DMA Defendant does not own or operate; or Attempt to enter

into, enter into, maintain, or enforce any agreement to Communicate Competitively Sensitive

Information with any Station in the same DMA Defendant does not own or operate. Notably,




18
  As noted above supra note 8, Competitively Sensitive Information was defined by the U.S.
Department of Justice as “Non-Public Information relating to pricing or pricing strategies, pacing,
holding capacity, revenues, or market shares.”

                                                   38
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       118.




       119.    In addition to providing holding capacity and related market information,

ShareBuilders also circulated weekly rate cards to some of its clients that contained

recommended pricing for each time slot. ShareBuilders circulated so-called “weekly bottom”

prices for broadcast television advertising which at least some of the Defendants used as the

“lowest rates [they]… should go for any given program in a specific week.”

       120.    Documents from some Defendants show that these weekly bottom prices were

used in conjunction with setting the prices they charged in what was supposed to be (and

indeed, should have been) a competitive market.

       121.    For example, TEGNA used a ShareBuilders rate card to set TEGNA’s price. In

September 2016, Patrick O’Keefe sent an email to Gregory Toth (TEGNA) regarding

“additional Michael Kors rate needed”, asking “I received an additional rate request for CBS

Sunday AM in the month of November. I took a look at the rate card. Our highest weekly

bottom is $1300 for a :30. This has to be internal and a :60. Can you let me know if the below

rate is ok to send? :60 sec rate - $3,000.” Gregory Toth responds, “Yes, OK to send @ $3,000

for a :60. Thanks, Patrick.”

       122.    Again, in January of 2017, Patrick O’Keefe sent an email regarding “KHOU –

4Q16 Six Flags 10-4-16.xls” to Gregory Toth, stating “I took the highest weekly bottom rate on

the 2Q17 rate card and nearly doubled it. Can you let me know if the attached rates are ok to

use?” Gregory Toth responded, “Perfect. Good to go. Thanks Patrick.”




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       123.    At least Defendants Cox Media Group, Dreamcatcher, Griffin, Meredith,

Nexstar, Raycom, Scripps, Sinclair, TEGNA, and Tribune received weekly bottom rate cards

from ShareBuilders.

                      b.     Extensive Communications among Defendants

       124.    A preliminary review of Defendants’ employees’ subpoenaed telephone records

show the existence of an extraordinarily large number of calls between employees of

Broadcaster Defendants during 2014 to 2019. TelephoG124ne records show that there were

numerous calls between employees of (i) Defendants Raycom and Nexstar; (ii) Defendants

Griffin and Sinclair; (v) Defendants Raycom and Tribune; and (vi) Defendants Sinclair and

Raycom, among others.

       125.    Some Defendants’ executives also emailed each other. For example, in February

of 2017, Pat LaPlatney [CEO Raycom] emailed Larry Wert [President, Tribune Media]: “Can

[I] call [you] when I land around 5:45CT ?” Larry Wert responded, “No sweat. Calling about

GNC spot in super bowl. Just spoke to Rosser.” Jeff Rosser was a Senior Vice President at

Raycom.

                      c.     Warnings Issued by Defendant Broadcast Station Executives to
                             Subordinates To Not Create and/or To Destroy Evidence of Price
                             Collusion Among Defendants

       126.    Defendants were aware of the incriminating nature of memorializing the

exchange of pricing and other competitively sensitive information with competitors. For

example, emails show that a General Manager at Sinclair spoke with a General Manager at a

CBS-owned affiliate to confirm sales information and memorialized the conversation in a

written summary. Upon reading this summary, a General Sales Manager at Sinclair warned,

“You can’t say you talked to the GM of KDKA [CBS affiliate] if you want to keep your job.

We need to couch that as word on the street.” Jim Lapiana replied “I’ll change. tx””

                                               42
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       127.    Emails from October 2017 show that an employee of Cox Reps noted in an email

that “all stations share numbers every quarter, will be sharing in November.” Employees in

this email chain later wrote that the new employee was told to take that note out of what she

sent around to her team because “that’s something we don’t want to share in an open forum.”

       128.    In another example, in February 2018 a Tegna’s station employee in the Tampa

DMA reiterated a directive from the station’s President to destroy –not stop getting--

competitors’ rates: “if we end up with competitors' rates/data in our hands, we should not share

or distribute, but rather print copy and give to manager and then delete email. He mentioned

concern about collusion.”

                      d.     Using Code Words to Hide Conspiratorial Activity

       129.     Rather than ask for prices from each other, some Defendants used code words

to hide their conspiratorial activity. Doing so helped evade their actions from detection. They

used code words in their communications with each other and as names of files.

       130.    Bill Cowen (a Cox Reps employee) and Michael Weiss (Vice President, Director

of Sales, Katz Television Group) had a text message thread ongoing for years where they would

share competitive information for stations in various DMAs. They used euphemisms like “hotel

options” and “hotel recommendations” as code for seeking competitive information. In one

example, Weiss messages Cowan “Looking for a fresh new hotel option in OK City…” Cowan

follows up minutes later to say, “Yes message received just got the number kfor 1335, Kaut

179.” KFOR and KAUT are television stations in Oklahoma.

       131.    The General Manager of Nexstar-owned stations in Roanoke, VA used this same

code word when he emailed a Katz represented and asked: “Hey my friend, did you get a NY

hotels listing for Nov yet?” The Katz representative responded: “Please see attached…The

ratings for these hotels are going down, despite the dollars going up!” The attachment, which is
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named “New York hotels” is a comprehensive spreadsheet of market information for all

Roanoke stations, including Nexstar’s competitors.

        132.    “Hotel” was just one of the code words used by Defendants to hide their

collusive activity.

                       e.     Participation, Knowledge and Approval of Executives of Collusive
                              Activity

        133.    As seen from the evidence above, multiple executives had knowledge of the

alleged collusive conduct.

        134.    In addition, Sinclair’s Maria Stalter confirmed during her 2018 U.S. Department

of Justice deposition that her superiors at Sinclair, including Regional Sales Managers and the

Vice President of National Sales, not only knew that competitively sensitive information was

routinely shared amongst competitors, but would also instruct their reports to gather competitive

pacing information from competitors’ representatives.

        135.    In September of 2016, a Vice President of Sales from Raycom emailed the

President/CEO (Pat LePlatney), forwarding ShareBuilders’ monthly core business forecasts in

an email with the Re Line: “Pat: this is the latest I have from Sharebuilders [sic] …. will talk to

Scripps, Tribune, Tegna ….” Not only does this indicate that a ShareBuilders’ report was sent

to an executive at Raycom, but also a clear intent by an employee to talk to Raycom’s

competitors.

        136.    Also in September of 2016, Wayne Freeman sent Pat LaPlatney an email about

his conversation with a competitor where he received forward looking pacing information from

Tribune: “Just wanted to touch base and let you know I had another – and longer – conversation

with Angela Betasso at Tribune today, Pat…. She said both their 3Q and 4Q pacing is down

mid-to-high double digits, both locally and nationally. September is -18%. I told her that our


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3Q was flat locally, and -5% national….” He goes on to detail his plans to contact other

competitors: “Still haven’t been able to connect with Paul Trestad at Tegna, Michael O’Brien at

Scripps or Bill Salley at Nexstar (although Bill left me a message that he would be in Phoenix at

NAB… I’ll try and track him down there).” Upon receipt of this information, Pat LaPlatney

replied, “Thanks.”

       137.    On June 20, 2018, Ric Phillips, Regional Sales Manager for Sinclair Broadcast

Group sent an email to Katz, stating “Going to see if we start having reps work together &

PACKAGE all stations, so each is represented share-wise as to what makes sense without

creating a ‘collusion’ thing.”

       138.    On July 3, 2018, when asked about how they did about a particular order, Lisa

Moore, Scripps National Sales Manager, replied, “Don’t know yet, have yet to see totals and

shares. FYI…intel has been slow to come for most orders…I think we’re still feeling the

effects of the collusion issue.”

       139.    In August of 2018, Tracy Rogers, Vice President/General Manager sent an article

about collusion in the television industry, and stated “That was a good article. We now know

the market that the collusion was so bad that the new GM self reported. Thanks for sharing.”

That article was forwarded to others, where another Director of Sales of WSAV stated,

“Remember the new GM who said the collusion was so bad that they self reported it. Well now

we know.”

       140.    Some Defendants’ executives appear to have joked about collusion or getting

caught by the Department of Justice.

       141.    In December 2014, Michael Yanuzzi, Group Manager of Sinclair Broadcast

Group, sent an email to Teansie Garfield, Group Head of Sales at Chesapeake TV



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Group/Sinclair Broadcast Group, about the Superbowl on NBC in 2015, stating “I’m sure John

Dittmier [sic] could utilize the below info from WTLH on last year’s game when it aired on

Fox. Not sure if there might be any concerns over rate collusion which probably never

stopped us in the past J”. John Dittmeier was Sinclair’s VP & General Manager for WTWC in

Tallahassee, FL.

       142.    In October 2017, a Sinclair Regional Sales Manager Shannon Eaker asks Cox

Reps for KSTUs [Scripps] order “since they are in your office.” The Cox Rep Sales manager

replied, “THAT WOULD BE COLLUSION SHANNON! HAHAHA $72,060”

       143.    In a Nexstar document dated August 23, 2018, Bill Anderson, Vice President &

General Manager for KRQE joked about getting caught by the Department of Justice: “if the

DOJ ever really does go through my emails looking for collusion, I think we are safe because

they won’t understand what the hell we’re talking about.”

       144.    In October 2018, Nik Adams, Director of Sales at WMBD (Nexstar) told a Katz

employee “Yesterday I was on a rant… the industry needs to reset. Agencies can’t demand

negotiated lower rates, ask for Added Value and also demand under delivery. Of course, she

[sic] the industry get together and agree on how to change another lawsuit would be filed about

collusion.”

                       f.    Defendants’ Internal Policies Define Anticompetitive Conduct and
                             Prohibit Conduct Alleged in This Complaint

       145.    Following the final judgment in the DOJ action, Sinclair issued a new set of

Antitrust Compliance Guidelines prohibiting the discussion or exchange of “any information

that is competitively sensitive from competitors, directly or indirectly.” In that document,

Sinclair defined “Competitively Sensitive Information” as including:

               a. “current rate cards of your station;”


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                b. “current rate cards of another station in the same DMA not owned or

                    operated by Sinclair;”

                c. “Your station’s (or another station’s stations in the same DMA not owned or

                    operated by Sinclair) booked revenue or market share for the current

                    quarter;”

                d. “Your station’s (or another station’s stations in the same DMA not owned or

                    operated by Sinclair) Q4 pacing figures versus last year’s Q4;

                e. Reports that are customized or confidential to a particular Station or station

                    group, including paid subscriptions.”

        146.    When describing “Types of Agreements to Restrain Trade,” Sinclair’s Antitrust

Compliance Guidelines state that “the word ‘agreement’ is used in its broadest sense. It is not

limited to a written contract. It may, in fact, be a tacit understanding under which two parties

have accepted a common approach or plan. An illegal agreement may be found to exist where

competitors merely discuss generally their practices regarding rates and then subsequently adopt

parallel prices.”

        147.    It also included Illustrative Examples:




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        148.   The policy further instructed employees: “DON'T discuss prices, coordinate or

collaborate with competitors on price terms, price, bids, sales volumes, customers, inventory,

strategy, revenues, pacing and/or market shares...”

        149.   Additionally, Sinclair stressed to its employees that “it is extremely important not

to discuss any element of our business with representatives of any other media company,”

including “business, specific clients, rates, or strategies with [Sinclair’s] competitors” and that

any such conversations “can be construed as collusion which is a large hot button for the

Department of Justice.”

        150.   Scripps had an Antitrust Compliance Policy approved on September 15, 2010

that stated:

               a. “Any agreement or understanding with a competitor that unreasonably

                   restrains competition is illegal under the antitrust laws. Many such

                   agreements with competitors, including price-fixing, market divisions,

                   customer allocations, boycotts, or other agreements that limit the ways in

                   which companies compete with each other, are illegal per se.”

               b. “Per se unlawfulness means that such agreements are automatically illegal,

                   regardless of their actual effect on competition, because decades of judicial

                   experience have created a conclusive presumption that such agreements hurt

                   competition and have no countervailing benefits. The Supreme Court has

                   described such agreements as the ‘supreme evil of antitrust.’”

               c. “Price fixing refers to agreements between or among competitors that affect

                   any aspect of the prices that they charge, including list or rate card prices,




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                  discounts, rebates, promotions, or the availability or extent of credit to

                  customers….”

              d. “Unlawful agreements need not be in writing or expressly stated; they can be

                  oral and can be inferred from circumstantial evidence, such as meetings or

                  other communications among competitors that are then followed by

                  suspicious conduct. Any such agreements would expose Scripps and the

                  responsible employees to potential criminal prosecution and to civil liability.”

              e. “Scripps employees therefore must not discuss or agree with any competitor,

                  actual or potential, the prices at which Scripps or the competitor sells or

                  intends to sell its services or products, including any factors that affect those

                  prices. Scripps employees also must not discuss or agree with any

                  competitor any other terms or conditions of sale, including (for example) the

                  number or nature of promotional programs, or any other aspect of how

                  Scripps the competitor compete with each other for sales.”

       151.   That same Scripps policy stated that “[i]n order to avoid any communications or

contacts with any of Scripps competitors which could in any way be interpreted as an implied

agreement or understanding, Scripps employees should strictly comply with the following rules:

              a. “Do not discuss with or communicate to any competitor any present, past, or

                  future price or any other term or condition of sale of any Scripps service or

                  product.”

              b. “Do not make available to any competitor any past, present, or future rate

                  card, price list, price quote, discount, rebate, or promotion schedule, or any




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                   other material that has been used or may be used by Scripps in establishing

                   prices.

               c. “Do not request or accept such information or materials from a competitor,

                   even if the competitor offers it….”

               d. “Generally avoid any contacts or communications with competitors relating

                   in any way to the business operations of Scripps or the competitors….”

       152.    That same Scripps policy also stated:




       153.    On March 13, 2013, a Fox employee advised that “Please remember that it is

against company policy to discuss competitive information on the station or market with

competing organizations. We have a non-collusion policy that is very strict.”

       154.    On March 11, 2014, a Fox Sales Meeting Agenda advised, “We cannot divulge

the status of the station, rates, a buy or share %, programming, strategy and any related info.

Collusion can be a reason for termination.”

       155.    Tribune, in its 2018 Code of Ethics, directly addressed “Gathering information

about our competitors in an ethical manner.” It cautioned employees to “MAKE SURE YOU”

               a. “Never contact a competitor regarding their confidential information;”

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              b. “Do not induce or receive confidential information of other companies;”

              c. “Never share the Company’s competitively sensitive information with a

                   competitor of the Company;” and

              d. “Never share competitively sensitive information of business partners or

                   other third parties with their competitors.”

       156.   Tribune’s Code of Ethics also advised that employees to “WATCH OUT FOR:”

              a.   “Temptations to engage in informal conversations with competitors about

                   competitively sensitive information. A conversation may be a breach of

                   competition law whether it is formal or informal.”

              b. “Conversations with competitors that could be perceived as limiting

                   competition. If such a conversation begins, leave the meeting immediately

                   and report it to the Law Department.”

       157.   Tribune’s Code of Ethics also included this example:




       158.   Tribune’s Code of Ethics also said the following activities are red flags and

should be avoided and reported to your supervisor, the Human Resources Department, the Law

Department or Internal Audit:


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               a. “COLLUSION: when companies secretly communicate or agree on how

                   they compete. This could include agreements of exchanges information on

                   pricing, terms, wages, or allocations of markets.”

       159.    In its “Human Resources Handbook,” Meredith states:

               a. “No employee should take unfair advantage of anyone through manipulation,

                   concealment, abuse of privileged information, misrepresentation of material

                   facts, or any other intentional unfair-dealing practice.”

               b. “Employees must maintain the confidentiality of confidential information

                   entrusted to them by the Company or its customers, employees, and business

                   partners… Confidential information includes all nonpublic information that

                   might be of use to competitors, or harmful to the Company or its customers,

                   if disclosed…”

       B.      The Department of Justice Investigation and Requirement for Injunctive
               Relief Underscore the Conclusion That the Defendants Violated Section 1 of
               the Sherman Act

       160.    Much of the conduct in the foregoing section was investigated by the DOJ in a

probe that was first publicly reported in July of 2018.

       161.    On November 13, 2018, December 13, 2018, and June 17, 2019, the DOJ filed

complaints, which stated that “Defendants’ agreements are restraints of trade that are unlawful

under Section 1 of the Sherman Act.”

       162.    The DOJ also filed the Judgments and the Statement as to all Defendants except

for Gray TV (after these dates, Gray TV finalized its acquisition of Raycom, which was

implicated in the DOJ filings) and Katz for violating Section 1 through “concerted action

between horizontal competitors in the broadcast television spot advertising market,” describing

the offense as having had anticompetitive effects by “disrupting the normal mechanisms for
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negotiating and setting prices and harming the competitive process,” and that the “offense [was]

likely to continue and recur unless the requested relief [was] granted.”

       163.    The Judgments mandate Defendants’ (less Katz, but including Gray TV, by

virtue of its acquisition of Raycom, and Cox Media, by virtue of its subsidiary-parent

relationship with Cox Enterprises), conduct for seven years, wherein Defendants must:

               a.      refrain from sharing competitively sensitive information directly or

                       indirectly, including information on:

                      i.   pricing;

                     ii.   pricing strategies;

                    iii.   pacing;

                     iv.   holding capacity;

                     v.    revenues; or

                     vi.   market shares;

               b. establish antitrust whistleblower policies;

               c. designate Antitrust Compliance Officers responsible for implementing

                    training and compliance programs;

               d. cooperate in the ongoing DOJ investigation; and

               e. certify annual compliance with the Judgments’ terms and conditions.

       164.    The injunctive relief required by the DOJ extends to all DMAs in the United

States and is not limited to “certain” DMAs.

       165.    Both the November, December, and June DOJ complaints refer to the conduct at

issue as “illegal” and “unlawful.”




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         166.   The Statement referred to the injunctive relief requested in the Judgments as

“terminat[ing] Defendants’ illegal conduct, prevent[ing] recurrence of the same or similar

conduct, and ensur[ing] that Defendants establish an antitrust compliance program,” thereby

“putting a stop to the anticompetitive information sharing.” The DOJ concluded in the

Statement that this injunctive relief was “necessary in light of the extensive history of

communications among rival stations that facilitated Defendants’ agreements” in restraint of

trade.

         167.   The then-Chief of the DOJ’s Antitrust Division, Assistant Attorney General

Makan Delrahim, elaborated: “The unlawful exchange of competitively sensitive information

allowed these television broadcast companies to disrupt the normal competitive process of spot

advertising in markets across the United States.”

         168.   During the DOJ’s Public Workshop on Competition in Television and Digital

Advertising in May 2019, Makam Delrahim also stated that “[s]ince last November, [DOJ] ha[s]

reached settlements with seven broadcast television companies who [DOJ] alleged had colluded

with their competitors to reduce competition in the market for broadcast advertising.”

         169.   The DOJ has been unequivocal, then, that the millions of pages of documents it

reviewed contained proof of a violation of Section 1 of the Sherman Act.

         C.     The Lack of Fines, Indictments, or Pleas is Immaterial

         170.   For several reasons, the fact that the DOJ declined to prosecute criminally does

nothing to undermine the plausibility of Plaintiffs’ price fixing claims under the per se standard.

         171.   First, both the 2016 DOJ and 2014 FTC guidance conclude that information

exchanges are facilitating practices that can evidence a price fixing cartel. Likewise, the United

States delegation to the Organization for Economic Cooperation & Development’s Competition

Committee in 2010 stated that “[i]nformation exchanges can be treated as circumstantial
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evidence of an unlawful price fixing or market allocation agreement among competitors, and in

such a case are analyzed under the per se rule.”

        172.   Second, the priorities of the DOJ vary annually and across administrations. The

DOJ’s own statistics show that it allocates its resources differently from year to year. In 2018

and 2019 combined, the DOJ has only filed 21 criminal antitrust complaints (7 of which relate

to legacy investigations initiated by the prior administration). In 2017, the DOJ filed only 17

criminal antitrust complaints.

        173.   Comparatively, the Antitrust Division of the DOJ filed roughly: 50 criminal

complaints in 2008, 54 criminal complaints in 2009, 66 criminal complaints in 2010, 84

criminal complaints in 2011, 52 criminal complaints in 2012, 59 criminal complaints in 2013,

54 criminal complaints in 2014, 47 criminal complaints in 2015, and 32 criminal complaints in

2016.

        174.   No inference can be drawn as to the seriousness of the legal violation at issue

here from the lack of a parallel criminal prosecution; and this is particularly true in light of an

apparent DOJ resource shift resulting in fewer criminal antitrust prosecutions.

        175.   Moreover, the “fact that Defendants did not plead guilty to wide-ranging conduct

does not limit the civil action. Relatively few defendants plead guilty to all of the charges

against them, and limitations on government resources may play as much a role in the

agreement as the conduct involved.” In re Auto. Parts Antitrust Litig., No. 12-MD-02311, 2014

WL 4272784, at *8 (E.D. Mich. Aug. 29, 2014); High Fructose Corn Syrup Antitrust Litig.,

295 F.3d at 664–665 (refusing to infer lack of a civil conspiracy from the government’s

decision not to move against certain defendants, acknowledging that the DOJ may decide to

limit the scope of an investigation for numerous reasons, including differing standards of proof



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in a criminal case and the knowledge that the private bar “had both the desire and the resources

to prosecute [the] suit”).

        176.    Third, the plausibility of Plaintiffs’ per se price fixing claim is bolstered by the

additional allegations in this action concerning economic evidence of cartel behavior (infra) and

the existence of numerous “plus factors” evincing a cartel (infra).

        D.      The Economic Evidence—Namely, Increased Prices and Skyrocketing
                Revenues in the Face of Declining Demand—Supports the Existence of a
                Cartel

        177.    The sale of broadcast television spot advertising on respective television stations

to advertising customers is a primary source of revenue for broadcasting companies, including

Defendants.20 The objective of the television station owner is to meet the needs of their

advertising customers by reaching significant audiences across key demographics.

        178.    In a competitive market, one would expect horizontal competitors such as

Defendants to compete for audience share and advertising revenue with other stations in their

respective DMAs by competing on price. This is particularly true in a market facing disruption

and decreased demand. The broadcast television spot advertising market is such a market.

        179.    The broadcast television spot advertising market has been faced with rapid

change, as consumers’ media time continues to shift away from traditional sources and towards

digital and online mediums, such as Instagram, Netflix, Hulu, YouTube, and Facebook.

Broadcast television spot advertising has been grappling with ratings erosion and viewers

canceling television subscriptions in favor of, inter alia, streaming services, which, in a

competitive market, should drive prices, profits, and revenues down.



20
  Nexstar and Sinclair’s advertising revenues made up almost 50 percent of their total revenue in 2018.
Tribune’s “television and entertainment” advertising revenue made up roughly 65 percent of its total
revenue in 2018.

                                                   57
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        180.    In a McKinsey 2015 Global Report, this was made clear: “Spending on media

continues to shift from traditional to digital products and services at a rapid pace. By 2019, we

believe digital spending will account for more than 50 percent of overall media spend. Within

this, the digital video spending will overtake physical spending by 2018, two years earlier than

we had previously forecast. Digital, consisting of Internet and mobile advertising, will become

the largest advertising category by 2017, surpassing TV one year earlier than forecast, and

mobile will more than double its share of the digital ad market.”21

        181.    The number of persons who actually view television advertising has also been

dwindling. The McKinsey report also states that “[a]s digital media gains ground, advertisers

are increasingly accepting the validity and persuasiveness of advertising on these media,

moving away from the typically high cost-per-thousand (CPM) traditional media to less

expensive, low-CPM Internet and mobile advertising—further accelerating the shift of analog

dollars to digital.” Those who consume television advertising are also declining: the rise of

“cord cutters” and “cord nevers” continues to grow. In fact, eMarketer estimates that traditional

television viewers will drop 2.4 percent (or by roughly 5 million people) by the end of 2018,

while the cord-cutter and cord-never populations will grow by a total of 15 percent (or by

almost 7 million people) this year. This impacts where advertisers spend their dollars, and a

decreased demand for television advertising. The report opined that television’s command over

the United States advertising revenues has given way to digital, which in 2015 was expected in

to bring in nearly half of all ad revenue in 2018—although digital advertising spend fell far




21
  While demand continues to decline, these projections turned out to be incorrect, as BIA Advisory
Services showed that digital advertising spend had not surpassed television advertising spend as of the
end of 2018 and is not projected to do so through at least 2023. See Section VIII.B., infra.

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short of this projection.




        182.    As depicted in Figure 1, from 2008 to 2016, viewership for morning news, early

local evening news, and local late-night news has fallen 13, 18, and 29 percent, respectively.

                        Figure 1: Local News Viewership Has Declined




        183.    In light of these challenges, the broadcast television spot advertising market has

not responded to declining demand in the way one would expect a competitive market to



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respond (i.e., by lowering price to compete for and preserve market share); instead, it exhibits

indicia of cartel activity, including increased prices and increased revenues.

       184.    As depicted in Figures 2.a through 2.k, all but one of the Defendants’ percent

gains in over the air (“OTA”) revenue have outpaced the market as a whole, which lost 2

percent in revenue over that same time period. All but one Defendant outpaced the industry

over this time period, some by as much as 97 percent, 164 percent, and 218 percent. The sole

Defendant that failed to outpace the industry, Fox, was also the only Defendant that was selling

broadcast stations (and their attendant revenue streams) during the relevant period.

                                 Figure 2.a to 2.k: 22
       Most Defendants’ Broadcast Spot Ad Revenues Have Outpaced the Industry

                                         Figure 2.a (CBS)




22
  Data for Dreamcatcher is only available from 2013 through 2016. Over that period, Dreamcatcher’s
revenue increased by 17%.

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                                Figure 2.b (Cox)




                                Figure 2.c (Fox)




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                              Figure 2.d (Griffin)




                             Figure 2.e (Meredith)




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                              Figure 2.f (Nexstar)




                              Figure 2.g (Raycom)




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                              Figure 2.h (Scripps)




                              Figure 2.i (Sinclair)




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                              Figure 2.j (TEGNA)




                              Figure 2.k (Tribune)




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        185.    Figures 3.a, 3.b., and 3.c show that beginning in the first quarter of 2014 (the

beginning of the conduct period identified by the DOJ and the Class Period here), broadcast

television spot advertising price levels rose dramatically from their immediately preceding

years.23 Figures 3.a through 3.c include data on the Top 100 DMAs. Of the Top 100 DMAs

reflected in Figures 3.a through 3.c, 92 are among the multi-defendant DMAs identified in

Appendix A, representing 96 percent of households in the Top 100 DMAs. The Broadcaster

Defendants are a collective of the largest broadcast station owners and operators in the nation

and are thus the primary drivers of the price movement reflected in Figures 3.a through 3.c.

                        Figure 3.a: Defendants’ Conduct Has Caused
               Broadcast Television Spot Advertising Prices to Rise (Early News)




23
  Broadcast television spot advertising is priced on a cost per thousand (“CPM”) basis, which is the cost
for an advertisement per 1,000 viewers, or a cost per point (“CPP”) basis, which is the cost to reach one
percent of television households in a specified area.

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                   Figure 3.b: Defendants’ Conduct Has Caused
          Broadcast Television Spot Advertising Prices to Rise (Late News)




                                        67
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                       Figure 3.c: Defendants’ Conduct Has Caused
              Broadcast Television Spot Advertising Prices to Rise (Primetime)




       186.    Finally, Figure 4 shows a commensurate jump in the Broadcaster Defendants’

revenues at the start of the Class Period in 2014. This is not how a competitive market responds

to declining viewership and declining demand; these effects would only be expected in a

cartelized market not subject to normal competitive forces.




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     Figure 4: Defendants’ Conduct Caused The Broadcaster Defendants’ Revenues to Rise




VII.     DEFENDANTS EXERCISED MARKET POWER AND THEIR CONDUCT HAD
         ANTICOMPETITIVE EFFECTS IN A RELEVANT ANTITRUST MARKET

         187.   Defendants’ price fixing agreement is unlawful under the per se standard, while

the information exchange that facilitated the cartel is either unlawful per se, or alternatively is

unlawful under either a quick look24 or full-fledged rule of reason analysis.

         188.   Under the per se standard, and additionally where, as here, there are

demonstrable anticompetitive effects, a relevant product and geographic market need not be

defined.

         189.   Should a relevant product market need to be defined in this action, it is the sale

of broadcast television spot advertising on broadcast television stations.


24
  “Quick look” is an abbreviated version of the rule of reason analysis, where the Court does not need to
conduct analysis of the market to show anticompetitive effects, but rather must only show a form of
market injury to the Plaintiffs and members of the Class.

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       190.    Should geographic markets need to be defined in this action, they are each

individual, specific DMA in which two or more Broadcaster Defendants purportedly compete,

identified in Appendix A.

       191.    The broadcast television spot advertising landscape in the United States is

comprised of parent companies like the Broadcaster Defendants that own and operate dozens of

television stations. These stations carry programming distributed through their broadcast

platforms, provided by third-party networks and syndicators, news stations, their own networks,

and other original programming.

       192.    Industry analysts and government regulators have consistently recognized that

digital media advertising and other forms of advertising are not effective substitutes for

broadcast television spot advertising.

       193.    Broadcast television spot advertising combines sight, sound, and motion that

appeal to viewers and attract their attention in ways that other advertising mediums do not.

       194.    Radio, newspaper, billboard, and direct-mail advertising do not combine sight,

sound, and motion, and consequently lack broadcast television spot advertising’s ability to

capture consumers with emotive storytelling. They also do not reach as many viewers as

broadcast television spot advertising and so cannot drive brand awareness to the same extent as

broadcast television spot advertising.

       195.    Most forms of digital and Internet advertising (such as search page and website

banner advertisements) lack the combination of sight, sound, and motion that characterize

broadcast spot television advertising, and even those online video advertisements that do

include that combination face prohibitive challenges in that they can be skipped, minimized, or

blocked by computer programs. Digital advertising also serves a different purpose, targeting



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narrow demographic subsets of a population and seeking to generate an immediate response (in

the form of a click through or purchase), while broadcast television spot advertising reaches the

largest population of any form of advertising in a DMA (including but not limited to radio, e-

mails, social media, the Internet, cable television spot advertising, and streaming services),

making it particularly effective for promoting brand awareness in a lasting way.

        196.   Advertisers want to advertise on broadcast stations (as opposed to cable stations

and digital mediums) because broadcast stations offer popular programming such as local news,

sports, and primetime and syndicated shows that are especially attractive in reaching a broad

demographic base and a large audience of viewers.

        197.   Cable television spot advertising reaches far fewer television households within a

DMA, is limited in supply, and generally encompasses more specialized programs that appeal to

niche audiences. Comparatively, broadcast television spot advertising can be viewed by anyone

with a traditional cable package (which includes major broadcast stations like ABC, CBS, Fox,

and NBC and their affiliated networks in addition to cable channels), people who stream their

television through the internet on services like Hulu (which almost ubiquitously carry the local

affiliates of the major broadcast stations), and can be viewed by anyone with an antenna, for

free.

        198.   With respect to digital advertising, in a 2011 review of top traditional and online

advertising agencies, 24 of the top 25 online agencies did not offer television advertising

services in-house and, similarly, 24 of the 25 top traditional advertising agencies did not offer

search advertising in-house. This implies that clients for these two advertising verticals do not

see the other as interchangeable or substitutable, but rather as complementary products (i.e.,

advertisers need to purchase both to reach as many potential consumers as possible).



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         199.   Indeed, Mark Lieberman, President and CEO of Viamedia, the nation’s largest

cross-media advertising company that offers advertising solutions through both television and

digital media stated in May 2019 that:

                We’re going to be talking a lot today about TV and digital, and
                from my standpoint, TV and digital are not equal, and they are
                not yet considered a holistic buy, for a few reasons, one is . . .
                television provides a brand safe environment, . . . second is that
                the [advertising] agencies actually have different buyers [for
                digital and television], . . . fourth . . . there is no connective tissue
                between the digital world, digital ad tech . . . and tv ad tech . . . [as
                to] measurement, there is no unified cross-media measurement
                platform [to assess how TV advertising is performing versus
                digital], and lastly, when it comes to privacy . . . there is a privacy
                paradox [with digital advertising] . . . regulation [of digital data]
                will inhibit the use of [digital] data to hit [advertising targets].

         200.   Mark Lieberman therefore concluded that he views digital advertising “as a

complement, not a substitute,” to television advertising.

         201.   As to “measurement,” while audience size and other performance for broadcast

television spot advertising is measured by neutral third parties, such as Nielsen, for digital

media, “impressions,” “views,” and other digital media performance is measured by the self-

interested advertisement sellers themselves and often there are invalid, inaccurate, or outright

fraudulent reporting of impressions, clicks, and other metrics.

         202.   Marc Pritchard, Chief Brand Officer at Procter & Gamble, stated in May 2019

that digital advertising has a “dark side,” including “outright fraud,” where advertisers cannot

tell if digital advertisers are being viewed by a human or a fraudulent robot application, or

“bot.”

         203.   As to “brand safety,” while most television programming is “safe” for brands—it

is not unsavory, salacious, pornographic, or ideologically or politically charged and so unlikely

to associate the brand with divisive or detrimental content or imagery—digital advertisements


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can and often do end up on websites, social media pages, or other digital media outlets that are

not “safe,” either because they are politically charged and so may divide a consumer base, are

pornographic or otherwise contain offensive imagery, or are otherwise inappropriate contexts.

       204.    Marc Pritchard elaborated on the brand safety issue, noting that some of his

digital advertisements had appeared in “unacceptable graphic and horrible content,” including

“ISIS terrorist training videos.” This can obviously endanger a brand.

       205.    Additionally, “ad blocking” applications can automatically prevent a consumer

from viewing a digital advertisement, while avoiding a broadcast television spot advertisement

requires that a viewer take affirmative action (e.g., change the channel, leave the room) to avoid

viewing a broadcast television spot advertisement.

       206.    Finally, more broadcast television spot advertisements are actually viewed to

their completion than digital advertisements. When a pop-up advertisement or other digital

advertisement is played, many people immediately close the unwanted distraction after just a

few seconds have passed, with the digital advertisement often playing only as long as it takes

the consumer to find the “close” box. Marc Pritchard noted that the “average view time for a

social media ad is 1.7 seconds” and that “it’s kinda hard to get a message across in 1.7 seconds.”

       207.    As compared to cable, broadcast television spot advertisements typically

penetrate about 90 percent of the households in a DMA, while cable television spot

advertisements penetrate far fewer homes. A significant and growing number of television

households do not even subscribe to a traditional cable provider, instead receiving broadcast

television signals over the air for free. In households that subscribe to cable television, the

package they receive almost always includes all broadcast channels, but often excludes many




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cable channels. As a result, some cable television spot advertisements cannot be seen even by

households with cable.

       208.    Additionally, broadcast television spot advertisement is much more appealing

than cable television spot advertising, because most advertisers are looking to capture a wide

audience and broadcast programming has broader appeal to viewers. A broadcast spot reaches

more viewers with more ratings points than a single spot on a cable channel. Cable audiences

are fragmented across numerous stations that cater to niche populations, and thus advertisers

looking to reach a large share of a DMA cannot do so through cable television spot

advertisements.

       209.    Finally, broadcast stations have a larger advertising inventory than cable stations.

Due to the limited inventory and lower ratings associated with cable spot advertising, cable

providers cannot offer the same volume of ratings points or broad enough household penetration

to match broadcast television spot advertising.

       210.    Because of these factors, advertisers are not likely to respond to a small but

significant increase in the prices charged for broadcast television spot advertising in a given

DMA by switching to other forms of media in large enough numbers to make that price increase

unprofitable. Accordingly, other forms of advertising are not a substitute for broadcast

television spot advertising. Conversely, broadcast television stations are generally substitutable

for one another. If a broadcast station suffers a blackout in a given DMA, viewers are likely to

turn to another such station in the DMA to watch similar content, such as sports, primetime

shows, local news, movies, and/or weather.

       211.    In 2013 the DOJ stated that it “has repeatedly concluded that the purchase of

broadcast television spot advertising constitutes a relevant antitrust market because advertisers



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view spot advertising on broadcast television stations as sufficiently distinct from advertising on

other media.” The DOJ similarly stated that it has “repeatedly concluded that the purchase of

broadcast television spot advertising constitutes a relevant market because advertisers view spot

advertising on broadcast television stations as sufficiently distinct from other forms of media

(such as radio and newspapers).”

       212.    For example, in a 2014 enforcement action, the DOJ explained that the proper

relevant antitrust market was broadcast television spot advertising and that the market excluded

all other forms of advertising, including “radio,” “billboards,” “newspaper,” as well as “cable or

satellite television.” The DOJ noted in that action that cable and satellite television was not “a

desirable substitute for broadcast television spot advertising for two important reasons.” First,

the DOJ noted that they do not have the same “reach” as broadcast television advertising, which

reaches “90% of homes in a DMA.” Second, the DOJ noted that because subscription services

can offer over 100 channels, they fragment the audience into small demographic segments, so

that broadcast television spot advertising “has higher ratings points than subscription

programming,” and so is “viewed as providing a much easier and more efficient means for an

advertiser to reach a high proportion of its target demographic.” Thus, the DOJ has consistently

concluded in its regulatory actions that these advertising outlets are “not [] a substitute for

broadcast television spot advertising, but rather as a supplement [i.e., a complement].” In that

action, the DOJ extended this analysis to “online video distributors, such as Netflix and Hulu.”

       213.    Indeed, as recently as July 31, 2019, the DOJ has maintained its firm and oft-

repeated stance, consistently adopted by the courts overseeing DOJ regulatory actions, that

broadcast television spot advertising is a properly drawn relevant antitrust market that excludes

all other forms of advertising.



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       214.    On average, the Broadcaster Defendants held 60 percent, and as high as 100

percent, market share in the multi-defendant DMAs listed in Appendix A (measured as of 2017

data, and including Raycom’s, but not Gray TV’s, commerce).

       215.    Defendants’ conduct alleged herein has caused injury to Plaintiffs and the Class

members in the form of having paid overcharges (i.e., artificially inflated prices) for broadcast

television spot advertising. This is injury is of the type that the antitrust laws were meant to

deter, punish, and prevent. As shown in Figure 1, Figures 3.a to 3.c, and Figure 4, at the onset of

the conduct period identified by the DOJ (the start of the Class Period here), the Broadcaster

Defendants’ prices and revenues have spiked in the face of declining demand. And Figures 2.a

to 2.k show that the Broadcaster Defendants’ revenues have outpaced their non-colluding rivals.

       216.    Moreover, the economic literature (discussed supra, in Section V.A.2) is clear

that the conduct and market outcomes observed here evince cartel behavior, lead to

anticompetitive harm, and cause a reduction in consumer welfare.

VIII. “PLUS FACTORS” FURTHER EVINCE THE EXISTENCE OF DEFENDANTS’
      PER SE UNLAWFUL PRICE FIXING CARTEL

       217.    Prominent legal and economic antitrust scholars studying collusive behavior

have developed the concept of “plus factors,” which are “economic actions and outcomes,

above and beyond parallel conduct by oligopolistic firms, that are largely inconsistent with

unilateral conduct but largely consistent with explicitly coordinated action.” They refer to the

plus factors that provide the most probative value and “those that lead to a strong inference of

explicit collusion as ‘super plus factors.’”

       218.    Here, plus factors plausibly inferring the existence of a per se illegal cartel

include: the defendants’ exchange of competitively sensitive information, a motive to conspire,

actions and conduct that would be against the Broadcaster Defendants’ unilateral self-interest in


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the absence of an anticompetitive agreement, opportunities and invitations to collude at trade

associations and otherwise, high market concentration, and high barriers to entry.

       A.      Defendants’ Information Exchange is a “Super Plus Factor” Evincing the
               Existence of a Per Se Unlawful Price Fixing Cartel

       219.    One of the “super plus factors” academics enumerate addresses the reciprocal

sharing of firm-specific competitively sensitive information that would normally remain private

to each firm, or where: “A firm or subset of firms has knowledge of the details of another firm’s

transactions, production, sales, and/or inventories where the latter firm would be competitively

disadvantaged by conveying that information unilaterally.”

       220.    A super plus factor plausibly inferring the existence of a per se illegal cartel

includes the information exchange detailed supra.

       B.      The Broadcaster Defendants’ Motive to Conspire—Declining Viewership
               and Revenue—is a Plus Factor Supporting the Existence of a Price Fixing
               Cartel that is Per Se Unlawful

       221.    As discussed above, overall viewership and revenue have been falling for

broadcast television spot advertising. While the Broadcaster Defendants’ revenues have

increased tremendously (as a result of their unlawful conduct), industry revenues overall are

down, the result of pressure from Internet and other media outlets as certain consumers (e.g.,

“cord-cutters” and “cord-nevers”) elect to consume non-traditional media.

       222.    Television viewership has declined in recent years. According to the Pew

Research Center, “[s]ince 2007, the average audience for late night newscasts has declined 31

percent, while morning audience declined 12 percent and early evening audience fell 19

percent.” In 2018, the Pew Research Center found that “the gap between the share of Americans

who get news online and those who do so on television is narrowing,” with only 50 percent of

United States adults regularly getting news from television in 2017, down from 57 percent in


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2016. Typically, local news is the largest source of revenue for local broadcast affiliates,

comprising roughly 50 percent of total revenue. In 2016, advertising revenue for local “news-

producing stations” made up 84 percent of total advertising revenue for the industry overall.

       223.    Broadcast television spot advertising sales have begun to decline in the last

decade. In real terms, broadcast television spot advertising industry-wide revenue reached its

non-election year peak in 2011 at $16.2 billion (in 2008 dollars). It has declined every two years

since then to $14.9 billion in 2017 (again, expressed in 2008 dollars), a decline of 8.25 percent.

The same pattern has held for election-years: in real terms, presidential election-year real local

television advertising spending fell from $20.0 billion in 2008 to $18.1 billion in 2012 to $17.6

billion in 2016, a total decline of 12.1 percent. And, for mid-term election years, real spending

fell by $1.9 billion dollars (4.9 percent) from $18. billion in 2010 to $17.4 billion in 2014.

       224.    BIA Advisory Services forecasts that local television station OTA advertising

revenues will grow slower than overall local advertising, predicting a 0.6 percent compound

annual growth rate (“CAGR”) from 2019 to 2023, outpaced by a forecasted CAGR of over 10

percent for local mobile video and over 15 percent for local online video. BIA Advisory

Services predicts that “by 2023, local online/interactive/digital advertising revenue will be $78.2

billion, growing to nearly 48 percent of total local media advertising revenue from roughly a 37

percent share in 2018.”

       225.    “In a healthy economy, we’re looking at no growth in advertising from

traditional media companies,” said Michael Nathanson, an analyst with research firm

MoffettNathanson. “That’s a worrying trend.” The decline in television viewership is

accelerating as online rivals have increased their investments in the online video advertising

market, capturing almost every new advertising dollar entering the marketplace. Almost half of



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the growth in local video ad spending during the next five years will go to digital platforms,

including local mobile video, local online video and out-of-home video, according to a 2017

study on advanced television advertising published by BIA/Kelsey industry analysts.

“Television ad sales have fallen even as global advertising grows, leading research firms and

analysts to predict that the business may never recover.”

       226.    Declining viewership, coupled with a relatively fixed amount of available

broadcast television spot advertising time, should lead to lower prices, revenues, and profits.

These factors provide a strong motivation for horizontal competitors to form and maintain a

cartel, particularly in this industry, where broadcast television spot advertising makes up the

majority of the Broadcaster Defendants’ revenues.

       227.    For example, according to Sinclair’s most recent Form 10-K filed with the SEC,

a primary source of revenue for local television stations is “the sale of advertising inventory on .

. . television stations to . . . advertising customers.” However, Sinclair also concedes that

“advertising revenue can vary substantially from period to period based on many factors beyond

[its] control.” Furthermore, “[t]his volatility affects [its] operating results and may reduce [its]

ability to repay indebtedness or reduce the market value of [its] securities.” Sinclair specifically

admits that its “operating results depend on the amount of advertising revenue [it] generate[s].”

The key revenue function underscores the strong incentive to collude rather than compete,

which, as alleged above and below, the Broadcaster Defendants acted upon.

       C.      The Broadcaster Defendants’ Action Against Their Unilateral Self-Interest
               (Rising Prices in the Face of Declining Demand) is a Plus Factor Supporting
               the Existence of a Price Fixing Cartel that is Per Se Unlawful

       228.    As discussed in the allegations above and below, the Broadcaster Defendants

undertook conduct that would be economically irrational as against their unilateral economic



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self-interest if it was undertaken in the absence of an agreement among the Broadcaster

Defendants to fix prices.

        229.    Specifically, the Broadcaster Defendants—faced with declining demand that

should have caused prices for broadcast television spot advertising to fall—irrationally raised

their prices.

        230.    In the absence of an agreement among firms to maintain high prices, raising

prices in the face of declining demand is against any one firm’s unilateral economic self-interest

because that firm would risk losing market share as customers shift their purchases away

towards lower priced rivals. A firm acting alone is uncertain how a rival will price, and so the

economically rational decision is to lower prices commensurate with the declining demand to

retain existing, or even to gain additional, market share.

        231.    However, a firm acting in concert with its rival by agreeing to maintain high

prices avoids this uncertainty about competitive outcomes and can confidently maintain high

prices even in the face of declining demand, knowing its rival will not undercut it and steal

market share away. That the Broadcaster Defendants raised their prices in the face of declining

demand strongly suggests that they were acting in concert as a cartel, rather than unilaterally.

        D.      Defendants’ Opportunities and Invitations to Collude are Plus Factors
                Supporting the Existence of a Price Fixing Cartel that is Per Se Unlawful

        232.    Further supporting the plausibility of the cartel were Defendants’ frequent

opportunities, and apparent invitations to one another, to collude rather than compete. As the

FTC notes in its Spotlight on Trade Associations, “[d]ealings among competitors that violate the

law would still violate the law even if they were done through a trade association[, including] . .

. control[ing] or suggest[ing] prices of members[,] . . . . [and] us[ing] information-sharing

programs . . . as a disguised means of fixing prices.”


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                    1. Invitations and Opportunities to Collude Through the TIP Initiative

       233.    As one example, on November 20, 2017, a group of broadcast television

companies, including Nexstar, Sinclair, TEGNA, and Tribune, announced the launch of the TV

Interface Practices or “TIP” Initiative, described as “an industry work group dedicated to

developing standard-based interfaces to accelerate electronic advertising transactions for local

TV broadcasters and their media agency partners.” The TIP Initiative is intended to be national

in scope. It will provide for standardized automated transactions with customers for broadcast

television spot advertising that will enable Defendants to share competitively sensitive

information. Nexstar’s President and CEO made a public statement regarding TIP indicating

that Defendants “must work together as an industry.” The President and CEO of Sinclair echoed

this sentiment stating that “[t]he TIP Initiative demonstrates the industry’s shared commitment

to working together” to grow their advertising sales. Tribune’s President and CEO also

indicated that through the TIP Initiative, Defendants could “actively work[] together.”

       234.    Through the TIP Initiative, Defendants thus signaled their invitation to the

industry to come together and collude rather than compete, and continue to disseminate

competitively sensitive information, in order to maintain industry profitability in the face of

declining demand.

               2.      Opportunities to Collude Through Joint Service Agreements

       235.    In addition, the Broadcaster Defendants had numerous opportunities to meet and

conspire with each other under the guise of legitimate business contacts and to perform acts

necessary for the operation and furtherance of the cartel.

       236.    In particular, almost 300 full-power local television stations changed hands in

2013 and many of these deals resulted in stations in the same market being separately owned on

paper but operated jointly, a practice that has grown exponentially in recent years. The practice

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proliferated beginning in 2011, and was widespread by 2013. As of 2014, joint service

agreements of one kind or another existed in at least 94 markets (almost half of the 210 local

television DMAs throughout the country), and up from 55 in 2011. As of March 2019, the

Broadcaster Defendants operated stations owned by different owners in 79 DMAs.

       237.    Specifically, Sinclair admits that “[c]ertain of [its] stations have entered into

agreements with other stations in the same market, through which [it] provide[s] programming

and operating services[,] . . . sales services[,] and other non-programming operating services.”

               3.     Opportunities to Collude Through the TVB Trade Association

       238.    Additionally, Defendants and their co-conspirators had numerous opportunities

to conspire through industry associations such as the Television Bureau of Advertising, Inc.

(“TVB”), the National Association of Broadcasters (“NAB”), and the Media Rating Council

(“MRC”), conferences and meetings held by those associations, and merger negotiations.

       239.    Cox Media, Katz, Nexstar, Sinclair, and Tribune are members of the TVB.

Katz’s president and Cox Media’s Executive Vice President presently serve as chairpersons on

TVB’s Board of Directors. Nexstar’s president and CEO, and TEGNA’s president and CEO, are

both former chairs of TVB. TVB is a “not-for-profit trade association representing America’s

$21 billion local broadcast television industry.” The TVB is designed to bring together and

encourage information sharing among employees of broadcast television companies, including

Defendants, especially advertising sales representatives.

               4.     Opportunities to Collude Through the NAB Trade Association

       240.    CBS, Cox Media, Fox, Scripps, Sinclair, TEGNA, Tribune, Meredith, and

Nexstar are also members of the NAB, which describes itself as the “premier trade association

for broadcasters.”



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       241.    CBS’ Executive Vice President, Cox Media’s Executive Vice President, Fox’s

Senior Vice President, Scripps’ President of Local Media, TEGNA’s President and CEO,

Nexstar’s Chairman, President and CEO, Sinclair’s President and CEO, Tribune’s COO, and

Meredith’s President, all serve on the NAB Television Board of Directors.

       242.    The President of Cox Media Group, owner of Cox Reps, also serves on the

NAB’s Executive Committee. NAB hosts numerous meetings and other events for industry

members throughout the year, which are attended by Defendants’ executives.

               5.      Opportunities to Collude Through the MRC Trade Association

       243.    Every named Defendant and many other local television station owners are also

members of the MRC.

       244.    The MRC boasts that one of the “[b]enefits of MRC [m]embership” is that

“[m]embers are exposed to other members’ ideas and thoughts” and that “[m]embers can attend

formal education seminars” together.

       245.    These invitations and opportunities to collude served to bolster and facilitate the

formation and maintenance of Defendants’ price fixing cartel.

               6.      Opportunities To Collude Through the Ancient Order of
                       Hiberanians

       246.    Certain employees of Defendants are members of the Ancient Order of

Hibernians in Atlanta, GA.

       247.    Emails were sent to personnel from across the advertising industry in Atlanta,

including cable, radio, broadcast tv, and sales representatives, including:

               a. Tim Bennett, CBS/Viacom VP for Southern Region (based in Atlanta);

               b. Sant Perez, VP/GSM of WAGA (Fox TV);

               c. Eric Longley, VP/GSM of WAGA (Fox TV);


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                d. Mike Bramel (Katz);

                e. Jason Morrow (Cox Reps);

                f. John Stumpfig, Account Executive WAGA (Fox TV);

                g. Mark Marino (Cox Reps);

                h. Bill Cowen (Cox Reps);

                i. Jeff Quick (Katz);

                j.   Tim McNamara, DOS of WATL/WXIA (Tegna);

                k. Thomas Canedo, GM of WUPA (CBS).

       248.     On January 1, 2015, Tim Bennett emailed a photo, stating “Forgive me

Hibernians for I have sinned… it has been 215 days since my last chapter meeting ….”

       249.     On January 1, 2016, Tim Bennett sent another email stating that it is time to

“congregate.”

       250.     On August 22, 2016, Tim Bennett sent another email stating that it was “time to

get the band back together.”

       251.     One email dated June 6, 2014, described the existence of a LinkedIn group for

the Ancient Order of Hibernians.

                7.     Other Opportunities to Collude

       252.     Some employees from at least one Defendant met at a local broadcaster

association. For example, a Raycom employee wrote in an email to Raycom’s Vice President of

Sales: “… I’m hoping somehow we can figure out a way for all of us broadcasters to stick

together. I’m on the Idaho Broadcasters Board with 2 of the other GM’s and we’ve had some

good discussions.”




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       253.




       254.   Some Defendants from Sinclair, Raycom, Tribune, Tegna and Fox discussed an

initiative named OxMyx: “to support the Network sales efforts of SBG [Sinclair Broadcast

Group] and other broadcaster groups teaming up with us to form the network sales alliance

called OxMyx – a business concept both companies have been marketing since mid-2015.”

(emphasis added). In 2016, a meeting was hosted by Sinclair to present OxMyx to Fox,

TEGNA, & Tribune. The PowerPoint prepared by Sinclair began by describing OxMyx as “a

National Advertising Alliance for the Broadcast Industry”:




       255.   That Powerpoint, for a meeting of competitors, stressed that in a “post

consolidation landscape, “COLLABORATION IS KEY:”




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       E.      The Broadcaster Defendants’ High Market Shares and High Concentration
               in the Broadcast Television Spot Advertising Market are Plus Factors
               Supporting the Existence of a Price Fixing Cartel that is Per Se Unlawful


       256.    As shown in Appendix A and alleged above, in the DMAs in which the

Broadcaster Defendants purportedly compete they consistently hold dominant shares of the

market, averaging 60 percent and as high as 100 percent. Sinclair is the largest broadcast

company in the nation, while Nexstar and Tribune are among the top five.

       257.    As of 2017, the Broadcaster Defendants in total owned 471 full-power stations,

up 85 percent from 254 stations in 2008. The Broadcaster Defendants in total own 688 revenue

generating stations, up over 150 percent from 268 stations in 2008. As discussed in more detail

infra, a wave of consolidation and station purchases has made some broadcast media owners

considerably larger.

       258.    A highly concentrated market is more susceptible to collusion and other

anticompetitive practices than less concentrated markets.



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       259.    In response to decreased advertisement spending, the local television industry

has been consolidating in recent years. This consolidation of the industry continues “as station

owners look to increase their leverage with broadcast networks, which supply much of their

programming, and pay-TV distributors, which carry their channels.” In 2013, “big owners of

local TV stations got substantially bigger, thanks to a wave of station purchases.” That wave is

reflected in the following chart taken from a 2013 report by the Pew Research Center:




       260.    As the Pew report states:

               Many of the 290 TV station purchases in 2013 occurred as group
               acquisitions by some of the largest owners, building their
               portfolios of stations even more. The Tribune Co. emerged from
               bankruptcy to make the richest single deal, spending $2.73 billion
               to acquire 19 stations from Local TV Holdings. Gannett
               completed a $2.2 billion transaction to buy 17 stations from Belo
               Corp., almost doubling Gannett’s TV holdings and giving it
               national reach. Twelve stations changed hands when Media
               General merged with New Young Broadcasting.

               Sinclair Broadcasting acquired more individual stations than any
               other buyer, snapping up outlets owned by locally based
               companies like Fisher Communications in Seattle and Allbritton
               Communications in Washington, D.C. The company already

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               owned the most local stations of any group; if all pending sales go
               through, Sinclair will own or provide services to 167 television
               stations in 77 markets, reaching almost 40 percent of the United
               States population. Nexstar Broadcasting made moves to increase
               its portfolio to 108 stations in 56 markets. In 37 of those markets,
               it will own or provides services to more than one station.
               Nexstar’s chief executive, Perry Sook, predicted the “rolling
               M&A thunder" would continue throughout 2014, and it has. In
               March, Media General announced plans to buy LIN Media's 43
               stations for $1.6 billion.

       261.    Consolidation in the industry was also fueled by the proposed acquisition of

Tribune by Sinclair, announced on May 8, 2017, which would have created the largest station

owner. Wary of Federal Communications Commission (“FCC”) rejection of the deal, Sinclair

and Tribune submitted a revised version of the merger plan to antitrust regulators, whereby

Sinclair would acquire Tribune for $3.9 billion, forming a company that would own 215

broadcast television stations in 102 cities, reaching close to 60 percent of all United States

television households. Sinclair and Tribune jointly have extreme market penetration, with

Tribune currently reaching 43 percent of the nation’s households and Sinclair reaching 38

percent of American homes.

       262.    Indeed, analysts called the proposed merger between Sinclair and Tribune “a

very transformative acquisition” that would create “a broadcaster with as close to a national

footprint as you can get.” Sinclair’s CEO, Chris Ripley, echoed this belief, stating the combined

company would reach “72 percent of United States homes across 108 markets including 39 of

the top 50” and “[t]his combination creates the largest TV broadcasting company in the

country.”

       263.    The revised merger plan could only be accomplished by selling certain television

stations to reduce the number of households jointly reached by Tribune and Sinclair (which

currently is over 80 percent). However, Sinclair’s revised plan called for selling certain stations


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to friends and other parties with whom it has a business relationship, for significantly less than

fair value, raising questions about whether Sinclair would actually continue to control these

stations.

        264.   The FCC expressed concerns that Sinclair did not intend to actually relinquish

control over television stations that it proposed to divest in order to comply with the National

TV Ownership rule, and that Sinclair had been less than candid with the FCC. Indeed, the FCC

suspected that certain “‘sidecar agreements’ [ ] would allow Sinclair to retain control of stations

without owning them.” According to FCC Commissioner Michael O’Reilly, the vote to send the

merger to an administrative law judge was a “de facto merger death sentence.”

        265.   The failure of the Sinclair-Tribune merger led Nexstar to announce its intention

to acquire Tribune for over $4 billion in December of 2018. As one article noted:

               The deal would make Nexstar, whose stations reach nearly 39
               percent of all United States television households, the biggest
               operator of local TV stations in the United States.

                                               ****

               Tribune Media owns or operates 42 local TV stations that reach
               50 million households, as well as the national network WGN. It
               also has a stake in the TV Food Network.

               Nexstar is the second-largest television station owner in the
               United States, with 171 outlets across the country, typically
               operating as affiliates with the four “major” United States
               television networks in small to mid-size markets. It also operates
               through local marketing agreement the stations owned by affiliate
               company Mission Broadcasting.

        266.   Similarly, on June 25, 2018, as noted above, Gray TV agreed to buy Raycom in a

$3.65 billion deal that would create a company that reaches nearly a quarter of United States

television households. The combined company owns 142 television stations in 92 DMAs

reaching 24 percent of television households and owning the third-highest number of stations.


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       267.    Herfindahl-Hirschman Index (“HHI”) calculations further reveal industry

concentration. HHI is a tool commonly employed in antitrust economics to measure market

concentration. It is calculated by squaring the market share of each firm competing in a market

and then summing the resulting numbers.

       268.    Here, the average HHI across the DMAs in which two or more Broadcaster

Defendants compete is 2,213 when considering ownership of stations and 2,303 when

considering operation of stations, some of which station operators do not own.

       269.    Of the 127 DMAs in which two or more Broadcaster Defendants compete, 80

have HHI measures over 2,500 when considering ownership of stations, and 89 have HHI

measures over 2,500 when considering operation of stations.

       270.    The DOJ considers an HHI measure between 1,500 and 2,500 to be a moderately

concentrated market and above 2,500 to be a highly concentrated marketplace.




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       F.      High Barriers to Entry in the Broadcast Television Spot Advertising Market
               are a Plus Factor Supporting the Existence of a Price Fixing Cartel That is
               Per Se Unlawful

       271.    A collusive arrangement that raises product prices above competitive levels,

under basic economic principles, would normally tend to attract new entrants seeking to benefit

from the supracompetitive pricing, which in turn could erode prices. But there are significant,

even prohibitive, barriers to entry in the spot television broadcasting market that prevent entry

from new, non-collusive rivals and the erosion of collusively increased profits. Thus, barriers to

entry help facilitate the formation and maintenance of cartels and market-allocation agreements.

       272.    New entrants planning to enter into broadcasting markets typically face six

critical barriers: (1) governmental policy; (2) the presence of dominant broadcasters; (3) access

to content; (4) audience behavior; (5) consumer costs; and (6) capital requirements.

       273.    Governmental policy, including regulatory or administrative practices, may

restrict market access. The FCC issues licenses for television stations, and an entrant would be

required to petition the Commission to assign a new channel to a community.

       274.    Responsible authorities take into account economic, as well as cultural and

social, factors when issuing broadcasting licenses that may lead to distortions of competition.

       275.    The existing dominant broadcasters usually have long-established relationships

with their viewers and (most likely) also with advertisers. New entrants in the market would

have to offer a better deal than the existing broadcasters in order to usurp any market share.

Additionally, bigger companies have more clout to negotiate programming deals with networks

or syndicators. “If you wanted a decent seat at the table talking to those guys, you had to have

scale,” said Barry Lucas, Senior Vice-President of Research at the investment firm Gabelli &

Co. “Otherwise you were irrelevant and got pushed around.”



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        276.    A newer entrant to the market would have to invest significant capital and time in

establishing itself before it could work with networks.

        277.    Additionally, successful entry into television broadcasting markets requires

access at reasonable prices to desirable programming, including production and/or acquisition

from third parties. Acquisition of this content, which is critical to attract viewers, is likely to

constitute a significant cost to new market players.

        278.    Commercial broadcasters, whose operations are primarily financed through

advertising fees, must establish within a short period an audience base that will also attract a

sufficient number of advertisers. Therefore, in the presence of established dominant

broadcasters, new entrants must provide offers attractive enough to convince viewers to alter

their already existing patterns of viewing and channel choice—a task that proves to be difficult.

        279.    Finally, it would require considerable funding, time, and technical sophistication

for a potential market entrant to gain the economies of scale and audience base achieved by

Defendants necessary to compete in the market for broadcast television spot advertising. Where

the level of capital required is prohibitively high, it constitutes a significant barrier to entry.

        280.    For these reasons, there has not been meaningful recent entry into the industry.

Of the major local broadcast station owners, Nexstar and Raycom (recently acquired by Gray

TV), are the most recent to enter the industry, both in 1996. Many of the large station owners

have been in the industry since the 1940s and 1950s, including Tribune, Meredith, and Griffin.

IX.     DEFENDANTS FRAUDULENTLY CONCEALED THEIR CONDUCT
        THROUGH, INTER ALIA, PUBLIC STATEMENTS IN SECURITIES FILINGS
        THAT THEY AND THE MARKET WERE FUNCTIONING COMPETITIVELY

        281.    Any applicable statute of limitations has been tolled by Defendants’ knowing and

active concealment of their unlawful conduct. Throughout the Class Period, Defendants

affirmatively and fraudulently concealed their unlawful and anticompetitive conduct.
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       282.    Plaintiffs and the Class members did not discover, nor could they have

discovered through the exercise of reasonable diligence, the existence of the conduct alleged

herein prior to disclosure of a DOJ investigation of certain Defendants on July 26, 2018.

       283.    Further, the very nature of Defendants’ conduct was secret and self-concealing.

Defendants engaged in secret market manipulation that could not be detected by Plaintiffs and

the Class.

       284.    Throughout the Class Period, each of the publicly-traded Defendants made

various representations in filings with the Securities and Exchange Commission (“SEC”) that

describe a competitive landscape in which they purport to vie for advertising revenue not only

with other spot television broadcast companies, but also with numerous other entities

       285.    For example, in its Form 10-K Annual Report filed with the SEC in June 2015,

Meredith stated that its “television stations compete directly for advertising dollars and

programming in their respective markets with other local television stations, radio stations,

cable television providers, and digital websites and mobile sites.”

       286.    Sinclair consistently claimed in its Form 10-K Annual Reports that its “television

stations are located in highly competitive DMAs,” while Tribune consistently listed among its

main competitors the major networks and the “major broadcast television station owners,”

including Nexstar and Sinclair. Nexstar made similar statements in its Form 10-K Annual

Reports throughout the Class Period.

       287.    Such representations by Defendants were intentionally misleading and concealed

the unlawful anticompetitive activity described herein from Class members.

       288.    Additionally, Defendants had corporate codes of conduct that members of the

Class reasonably relied on to assume that they were complying with federal antitrust laws.



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       A.      SINCLAIR

       289.    For example, Sinclair has a publicly-posted “Code of Business Conduct and

Ethics” that states that “Officers, directors and employees must comply with all laws, rules and

regulations applicable to them or the Corporation, including, without limitation, . . . antitrust

laws[.]”

       B.      NEXSTAR

       290.    Nexstar likewise has a public “Code of Business Conduct” that states:

               All employees must comply fully with the laws and regulations
               that apply to the Company. When the application of such laws or
               regulations is uncertain, employees are urged to seek the guidance
               and advice of the General Manager or Chief Financial Officer.
               Employees are expected to recognize this duty to society above
               and beyond their obligations to the Company and their personal
               financial interests. While the Company must compete vigorously
               to maximize profits, Nexstar will at the same time do so in strict
               compliance with all laws and regulations applicable to our
               activities. No employee should at any time take any action on
               behalf of the Company, which is known or should be known to
               violate any applicable law or regulation.

       291.    Nexstar maintains a “Code of Ethics,” which was originally filed with the SEC

on March 31, 2004 by Nexstar Broadcasting Group, Inc. and incorporated as an exhibit to

Nexstar’s Annual Report for the year ending December 31, 2003 on Form 10-K. The “Code of

Ethics” states, “Each Relevant Officer owes a duty to the Company to act with integrity. . . .

Specifically, each Relevant Officer must: . . . . Adhere to a high standard of business ethics and

not seek competitive advantage through unlawful or unethical business practices.”

       C.      SCRIPPS

       292.    Scripps has a “Company Code of Conduct” that directs employees to “not

discuss pricing or price-related information with our competitors.”

       D.      FOX


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        293.    Fox maintains in its “Standard of Business Conduct” that it “is committed to fair

competition” and that it “always engage[s] in fair competition in the free market, obeying all

applicable antitrust and competition laws.”

        E.      TEGNA

        294.    TEGNA’s “Ethics Policy” states that the company “is committed to the concept

of fair dealings, and free, fair and open competition . . . and [a]void[s] actions that restrict

freedom of competitive opportunities.”

        F.      COX

        295.    Cox Media’s “Code of Conduct” details the company’s purported commitment to

“conduct[ing] business lawfully.” The Code states:

                Cox Media Group employees should not enter into any
                agreements or arrangements with other parties (competitors,
                vendors, customers, etc.) that could illegally limit or restrict
                competition.

                                                 ****

                Don’t communicate with our competitors about “fixing” prices
                (for example, setting minimum or maximum prices) . . .
                interfering with the competitive bidding process.

        G.      KATZ

        296.    Likewise, in its “Code of Business Conduct and Ethics,” iHeartMedia, Inc.,

Katz’s parent, outlines its commitment to “competing for business fairly” and states that it

“complies with competition laws wherever we do business.” The Code also states that

competition laws “generally forbid entering into formal or informal agreements with

competitors that restrain trade, such as . . . sharing information regarding prices, terms or

conditions, costs, marketing plans, customers or any other proprietary or confidential

information,” and warns its employees to “[b]e particularly cautious when attending trade


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events, seminars, or industry conferences [and] avoid conversations about competitively

sensitive information with representatives of our competitors.”

        H.      CBS

        297.    CBS has a lengthy “Business Conduct Statement” that lays out its responsibilities

under the antitrust laws in significant detail:

                CBS seeks to excel and outperform its competition honestly and
                fairly. CBS seeks competitive advantages through superior
                performance, not from illegal or unethical business practices.

                The purpose of the antitrust trade and practice laws is to preserve
                a competitive economy in which free enterprise can flourish. CBS
                is committed to this principle and to full compliance with these
                laws in each jurisdiction within which it operates.

                                                  ****

                CBS’s policy requires that all of its prices be determined
                independently in light of costs, market conditions and competitive
                factors. Any agreement, written or unwritten, explicit or tacit,
                formal or informal, between competitors to fix, raise, peg,
                stabilize or even lower prices, or to eliminate or reduce price
                competition, is per se unlawful.

                                                  ****

                If you participate in trade association meetings or other activities
                on behalf of CBS or your Company, you must be very careful to
                avoid even the appearance of reaching or seeking an agreement as
                to prices . . . including by sharing nonpublic price or market
                information, whether as part of “official” trade association
                meetings or in less formal discussions that may occur in
                conjunction with trade association activities.

        I.      MEREDITH

        298.    And Meredith has a “Code of Business Conduct and Ethics” that states:

                Obeying the law, both in letter and in spirit, is the foundation on
                which the Company’s ethical standards are built. All employees
                must respect and obey the laws of the cities, states, and countries
                in which we operate. Although not all employees are expected to
                know the details of these laws, it is important to know enough to

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                 determine when to seek advice from supervisors, managers, or
                 other appropriate personnel.

                 We do not condone any act that violates the law, even when such
                 action appears to be in the Company's best interest.

        J.       TRIBUNE

        299.     Tribune has an extensive “Code of Ethics and Business Conduct” that spells out

its obligations under the antitrust laws in great detail:

                 We believe in free and open competition and never engage in
                 improper practices that may limit competition and we never look
                 to gain competitive advantages through unethical or illegal
                 business practices, but rather through superior performance.

                 We do not enter into agreements with competitors to engage in
                 any anti-competitive behavior, including setting prices or dividing
                 up customers, suppliers or markets.

                                                 ****

                 Also, anti-trust and fair competition laws are complex and
                 compliance requirements can vary depending on the circumstance,
                 but in general, the following activities are red flags and should be
                 avoided and reported to your supervisor, the Human Resources
                 Department, the Law Department or Internal Audit:

                 COLLUSION — when companies secretly communicate or agree
                 on how they will compete. This could include agreements or
                 exchanges of information on pricing, terms, wages, or allocations
                 of markets.

        300.     These statements have now been demonstrated to be materially misleading; they

suggest that Defendants were law-abiding companies that recognized their antitrust obligations

and that Defendants and the broadcast television spot advertising market were functioning

competitively.

        301.     As a result of Defendants’ fraudulent concealment, all applicable statutes of

limitations affecting the Plaintiffs’ and the Class members’ claims have been tolled.




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X.       CLASS CERTIFICATION IS APPROPRIATE HERE

         302.   Plaintiffs bring this action on behalf of themselves and as a class action under

Rule 23(a), (b)(2) and (b)(3) of the Federal Rules of Civil Procedure on behalf of the following

Class:

                All persons and entities in the United States who purchased
                broadcast television spot advertising from one or more
                Broadcaster Defendants in a DMA within which two or more of
                the Broadcaster Defendants sold broadcast television spot
                advertisements on broadcast television stations and who paid one
                or more Broadcaster Defendants directly for all or a portion of the
                cost of such broadcast television spot advertisements, or any
                current or former subsidiary or affiliate of a Broadcaster
                Defendants during the period from at least and including January
                1, 2014 until the effects of the unlawful conduct are adjudged to
                have ceased (the “Class Period”).25

         303.   While Plaintiffs do not know the exact number of members of the Class,

Plaintiffs believe the class size is numerous, and likely includes hundreds if not thousands of

members.

         304.   Common questions of law and fact exist as to all members of the Class. This is

particularly true given the nature of Defendants’ unlawful anticompetitive conduct, which

focuses on the conduct of Defendants, not of any particular class member, and was generally

applicable to all the members of the Class, thereby making appropriate relief with respect to the

Class as a whole. Such questions of law and fact common to the Class include, but are not

limited to:




25
  Excluded from the Class are Defendants, their parent companies, subsidiaries, affiliates, officers,
directors, employees, assigns, successors, agents, or co-conspirators; the court, court staff, defense
counsel, all respective immediate family members of these excluded entities, federal governmental
entities and instrumentalities of the federal government, and states and their subdivisions, agencies and
instrumentalities.

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                  Whether Defendants and their co-conspirators engaged in a

                   combination and conspiracy to fix, raise, maintain or stabilize the

                   price levels of broadcast television spot advertising time, that is per se

                   illegal;

                  The identity of the participants of the alleged cartel;

                  The duration of the alleged cartel, and the acts carried out by

                   Defendants and their co-conspirators in furtherance of the cartel;

                  Whether the conduct alleged herein violated Section 1 of the Sherman

                   Act; and

                  Whether the conduct alleged herein caused damages to the members

                   of the Class in the form of overcharges paid for broadcast television

                   spot advertising and the proper measure of such overcharge damages.

       305.    Plaintiffs’ claims are typical of the claims of the members of the Class, and

Plaintiffs will fairly and adequately protect the interests of the Class. Plaintiffs and all members

of the Class are similarly affected by Defendants’ unlawful conduct in that they paid artificially

inflated prices for broadcast television spot advertising time provided by the Broadcaster

Defendants.

       306.    Plaintiffs’ claims arise out of the same common course of conduct giving rise to

the claims of the other members of the Class. Plaintiffs’ interests are coincident with and typical

of, and not antagonistic to, those of the other members of the Class.

       307.    Plaintiffs have retained counsel with substantial experience litigating complex

antitrust class actions in myriad industries and courts throughout the nation.




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       308.    The questions of law and fact common to the members of the Class predominate

over any questions affecting only individual members, including issues relating to liability and

damages.

       309.    Class action treatment is a superior method for the fair and efficient adjudication

of the controversy, in that, among other things, such treatment will permit a large number of

similarly situated persons to prosecute their common claims in a single forum simultaneously,

efficiently and without the unnecessary duplication of evidence, effort and expense that

numerous individual actions would engender. The benefits of proceeding through the class

mechanism, including providing injured persons or entities with a method for obtaining redress

for claims that it might not be practicable to pursue individually, substantially outweigh any

difficulties that may arise in management of this class action. Moreover, the prosecution of

separate actions by individual members of the Class would create a risk of inconsistent or

varying adjudications, establishing incompatible standards of conduct for Defendants.

       310.    Plaintiffs know of no difficulty likely to be encountered in the maintenance of

this action as a class action under Federal Rule of Civil Procedure 23.

                                            COUNT ONE
                                     Price Fixing in Violation of
                            Section 1 of the Sherman Act (15 U.S.C. § 1)

       311.    Plaintiffs repeat the allegations set forth above as if fully set forth herein.

       312.    During the Class Period, Defendants entered into and engaged in a contract,

combination, or conspiracy with regards to broadcast television spot advertising in unreasonable

restraint of trade in violation of Section 1 of the Sherman Act (15 U.S.C. § 1).

       313.    The contract, combination or conspiracy consisted of an agreement among the

Defendants to fix, raise, stabilize or maintain at artificially high levels the prices they charged

for broadcast television spot advertising in the United States.
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          314.   Plaintiffs and members of the Class have been injured and will continue to be

injured in the form of overcharge damages paid for broadcast television spot advertising time

purchased from the Broadcaster Defendants and their co-conspirators.

          315.   This conduct is unlawful under the per se standard.

          316.   Plaintiffs and members of the Class are entitled to treble damages, their

attorneys’ fee and costs, and an injunction against Defendants restraining the violations alleged

herein.

                                          COUNT TWO
                              Information Exchange in Violation of
                           Section 1 of the Sherman Act (15 U.S.C. § 1)

          317.   Plaintiffs repeat the allegations set forth above as if fully set forth herein.

          318.   During the Class Period, Defendants entered into and engaged in a contract,

combination, or conspiracy with regards to broadcast television spot advertising in unreasonable

restraint of trade in violation of Section 1 of the Sherman Act (15 U.S.C. § 1).

          319.   The contract, combination or conspiracy involved the exchange of competitively

sensitive information between and among Defendants, causing anticompetitive effects without

sufficient procompetitive justifications.

          320.   Plaintiffs and members of the Class have been injured and will continue to be

injured in the form of overcharge damages paid for broadcast television spot advertising time

purchased from the Broadcaster Defendants and their co-conspirators.

          321.   This conduct is unlawful under the per se standard or alternatively under a quick

look or full-fledged rule of reason mode of analysis.

          322.   As described above, the relevant product market affected adversely by the

challenged conduct is the market for broadcast television spot advertising and the relevant



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geographic markets are those DMAs where two or more Defendants compete, markets where

Defendants collectively have significant market power.

          323.   Plaintiffs and members of the Class are entitled to treble damages, their

attorneys’ fees and costs, and an injunction against Defendants restraining the violations alleged

herein.

                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs and the Class respectfully request that:

          A.     The Court determine that this action may be maintained as a class action

under Rules 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure;

          B.     The Court adjudge and decree that the acts of the Defendants are illegal and

unlawful, including the agreement, contract, combination, or conspiracy, and acts done in

furtherance thereof by Defendants and their co-conspirators be adjudged to have been a per se

violation (or alternatively illegal under a quick look or full-fledged rule of reason violation) of

Section 1 of the Sherman Act (15 U.S.C. § 1);

          C.     The Court permanently enjoin and restrain Defendants, their affiliates,

successors, transferees, assignees, and other officers, directors, agents, and employees thereof,

and all other persons acting or claiming to act on their behalf, from in any manner continuing,

maintaining, or renewing the conduct, contract, conspiracy, or combination alleged herein, or

from entering into any other contract, conspiracy, or combination having a similar purpose or

effect, and from adopting or following any practice, plan, program, or device having a similar

purpose or effect;

          D.     Judgment be entered against Defendants, jointly and severally, and in favor of

Plaintiffs and members of the Class for treble the amount of damages sustained by Plaintiffs and


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the Class as allowed by law, together with costs of the action, including reasonable attorneys’

fees, pre- and post-judgment interest at the highest legal rate from and after the date of

service of this Complaint to the extent provided by law;

        E.      The Court award Plaintiffs and members of the Class such other and further relief

as the case may require and the Court may deem just and proper under the circumstances.

                                       JURY DEMAND

        Plaintiffs demand a trial by jury, pursuant to Rule 38(b) of the Federal Rules of Civil

Procedure, of all issues so triable.

Dated: March 16, 2022                        Respectfully submitted,

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                                                     Appendix A
                                  DMAs with Multiple Defendants Present
No.            DMA                  Defendants Present              Plaintiffs        Owned      Operated    Owned     Operated
                                                                  Purchased in        Stations    Stations   Station   Stations
                                                                    the DMA           Market      Market      HHI      HHI
                                                                  During Class         Share     Share (%)
                                                                     Period             (%)
1.    Abilene-Sweetwater,         -Nexstar                              X                85         99       3,392       4,602
      TX***                       -Sinclair Broadcast Group     (from Scripps on
                                  -TEGNA                             Nexstar)
2.    Albany, GA                  -Gray (formerly Raycom)               X               86          86       5,407       5,476
                                  -Sinclair                   (from Sinclair; from
                                                              Scripps on Raycom)
3.    Albany-Schenectady- Troy,   -Nexstar                              X               62          72       2,732       3,377
      NY                          -Sinclair                   (from Sinclair; from
                                                               Scripps on Nexstar;
                                                                from TEGNA on
                                                                     Nexstar)
4.    Amarillo, TX                -Gray (formerly Raycom)               X               89         100       2,885       3,445
                                  -Nexstar                    (from Sinclair; from
                                  -Sinclair                    Scripps on Nexstar)
5     Atlanta, GA***              -CBS                                  X               96          60       2,348       2,348
                                  -Cox*                         (from Scripps on
                                  -Fox                        Cox; from Sinclair on
                                  -Meredith                    CBS; from Tribune
                                  -TEGNA                           on TEGNA)
6.    Augusta-Aiken, GA           -Gray (formerly Raycom)               X               56          56       3,695       3,695
                                  -Nexstar                      (from Scripps on
                                                                     Nexstar)



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7.    Austin, TX***              -Nexstar                           X              87   93    2,057   2,389
                                 -Sinclair                   (from Scripps on
                                 -Fox                            Nexstar)
                                 -TEGNA
8.    Bakersfield, CA***         -Nexstar                              X           79   79    2,771   2,771
                                 -Sinclair                  (from Sinclair; from
                                 -Scripps                   Scripps on Nexstar)
9     Baltimore, MD              -CBS                                  X           55   66    2,398   2,853
                                 -Scripps                   (from Sinclair; from
                                 -Sinclair                 Scripps; from Scripps
                                                                 on CBS; from
                                                            Tribune on Sinclair)
10.   Baton Rouge, LA            -Gray (formerly Raycom)               X           57   69    3,067   3,377
                                 -Nexstar                     (from Scripps on
                                                                 Nexstar; from
                                                            Scripps on Raycom)
11    Beaumont-Port Arthur,      -Sinclair                             X           71   100   3,118   5,257
      TX***                      -TEGNA                         (from Sinclair)
12    Billings, MT               -Nexstar                              X           14   82    4,305   4,492
                                 -Scripps**                   (from Scripps on
                                                                    Nexstar)
13.   Birmingham (Anniston and   -Sinclair                             X           79   79    2,661   2,661
      Tuscaloosa), AL***         -Gray (formerly Raycom)    (from Sinclair; from
                                 -Nexstar                   Scripps on Raycom;
                                                               from Scripps on
                                                                 Nexstar; from
                                                            Tribune on Sinclair;
                                                              from TEGNA on
                                                                    Nexstar)
14    Boise, ID***               -Gray (formerly Raycom)               X           91   91    2,616   2,616
                                 -Scripps                   (from Sinclair; from
                                 -Sinclair                          Scripps)
                                 -TEGNA




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15   Boston, MA                 -CBS                                X             36   24      2,000   1,975
                                -Cox*                       (from Sinclair on
                                                           CBS; from Scripps
                                                                 on Cox)
16   Buffalo, NY***             -Nexstar                            X             97   97      2,544   2,544
                                -Scripps                  (from Scripps; from
                                -Sinclair                     Sinclair; from
                                -TEGNA                        TEGNA; from
                                                          Scripps on Nexstar;
                                                            from Tribune on
                                                                TEGNA)
17   Butte-Bozeman, MT          -Scripps**                                        26   83      4,222   4,222
                                -Sinclair
18   Cedar Rapids-Waterloo-     -Gray (formerly Raycom)              X            42   51      2,978   3,245
     Iowa City-Dubuque, IA      -Sinclair                     (from Sinclair)
19   Champaign/Springfield-     -Nexstar                   (from Sinclair; from   54   70      2,635   3,396
     Decatur, IL***             -Sinclair                  Scripps on Nexstar;
                                                             from Tribune on
                                                                  Sinclair)
20   Charleston, SC             -Gray (formerly Raycom)              X            83   99      2,651   3,423
                                -Nexstar                   (from Sinclair; from
                                -Sinclair                  Scripps on Raycom;
                                                             from Scripps on
                                                                  Nexstar)
21   Charleston-Huntington,     -Sinclair                            X            30   40      3,941   4,295
     WV***                      -Nexstar                   (from Sinclair; from
                                                           Scripps on Nexstar;
                                                             from Tribune on
                                                                  Sinclair)
22   Charlotte, NC***           -Cox*                                X            85   53      2,375   2,375
                                -Fox                      (from Cox; from Fox;
                                -Gray (formerly Raycom)    from TEGNA; from
                                -TEGNA                     Scripps on Raycom)
23   Chicago, IL                -CBS                                              46   46      1,662   1,662
                                -Fox
                                -Tribune

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24   Cincinnati, OH***           -Gray (formerly Raycom)             X            66   77   2,099   2,707
                                 -Scripps                  (from Scripps; from
                                 -Sinclair                     Sinclair; from
                                                           Scripps on Raycom;
                                                             from Tribune on
                                                                 Sinclair)
25   Cleveland-Akron (Canton),   -Gray (formerly Raycom)             X            93   93   2,197   2,197
     OH***                       -Scripps                     (from Scripps)
                                 -TEGNA
                                 -Tribune
26   Colorado Springs-Pueblo,    -Nexstar                           X             20   49   2,438   2,438
     CO                          -Scripps**                  (from Scripps on
                                                                 Nexstar)
27   Columbia, SC***             -Gray (formerly Raycom)            X             79   79   2,562   2,562
                                 -Sinclair                 (from Sinclair; from
                                 -TEGNA                    Scripps on Raycom)
28   Columbus, GA (Opelika,      -Gray (formerly Raycom)            X             69   69   2,888   2,888
     GA)                         -Nexstar                    (from Scripps on
                                                              Raycom; from
                                                           Scripps on Nexstar)
29   Columbus-Chillcothe, OH     -Nexstar                           X             42   65   2,462   3,577
                                 -Sinclair                 (from Sinclair; from
                                                           Scripps on Nexstar;
                                                             from Tribune on
                                                                 Sinclair)
30   Corpus Christi, TX          -Scripps**                                       37   82   3,237   3,237
                                 -Sinclair
                                 -TEGNA
31   Dallas-Ft. Worth, TX***     -CBS                              X              68   68   1,831   1,831
                                 -Fox                          (from Fox)
                                 -TEGNA
                                 -Tribune




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32   Davenport, IA               -Nexstar                             X           44   55      3,270   3,565
     Rock Island-Moline, IL***   -Tribune                    (from Scripps on
                                 -TEGNA                         Nexstar; from
                                                           Tribune on Nexstar;
                                                               from TEGNA)
33   Dayton, OH                  -Cox*                                X           80   44      3,251   3,568
                                 -Nexstar                  (from Sinclair; from
                                 -Sinclair                  Scripps on Nexstar;
                                                              from Tribune on
                                                                Sinclair; from
                                                              Scripps on Cox)
34   Denver, CO***               -CBS                                 X           92   92      2,346   2,349
                                 -Scripps                  (from TEGNA; from
                                 -TEGNA                            Scripps)
                                 -Tribune
35   Des Moines-Ames, IA***      -Nexstar                             X           57   57      3,170   3,170
                                 -Sinclair                 (from Sinclair; from
                                 -Tribune                   Scripps on Nexstar;
                                 -TEGNA                       from TEGNA on
                                                                Nexstar; from
                                                                  TEGNA)
36   Detroit, MI                 -CBS                                 X           73   73      2,466   2,466
                                 -Fox                       (from Scripps; from
                                 -Scripps                     Sinclair on CBS;
                                                              from Tribune on
                                                                  Scripps)
37   Dothan, AL                  -Gray (formerly Raycom)              X           35   35      4,866   4,866
                                 -Nexstar                  (from Raycom; from
                                                            Scripps on Nexstar)
38   El Paso-Las Cruces,         -Nexstar                             X           52   52      2,335   2,335
     TX/NM***                    -Sinclair                 (from Sinclair; from
                                                            Scripps on Nexstar)
39   Evansville, IN              -Gray (formerly Raycom)              X           70   81      2,888   3,645
                                 -Nexstar                     (from Scripps on
                                                                  Nexstar)


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40   Flint-Saginaw-Bay City,    -Meredith                          X             64   67     3,148   3,321
     MI***                      -Sinclair                 (from Sinclair; from
                                                          Tribune on Sinclair)
41   Fresno-Visalia, CA         -Nexstar                           X             51   51     2,163   2,163
                                -Sinclair                 (from Sinclair; from
                                                          Scripps on Nexstar;
                                                            from Tribune on
                                                                Sinclair)
42   Ft. Smith-Fayetteville-    -Nexstar                           X             60   71     2,951   3,353
     Springdale-Rogers,         -Tribune                    (from Scripps on
     AR***                                                      Nexstar)
43   Gainesville, FL            -Fox                                             18   45     3,772   4,077
                                -Sinclair**
44   Grand Rapids-              -Nexstar                           X             97   97     2,529   2,529
     Kalamazoo-Battle Creek,    -Sinclair                 (from Sinclair; from
     MI***                      -TEGNA                    Scripps on Nexstar)
                                -Tribune
45   Green Bay-Appleton, WI     -Nexstar                            X            70   70     2,825   2,825
                                -Scripps                  (from Scripps; from
                                -Sinclair                     Sinclair; from
                                                          Scripps on Nexstar;
                                                            from TEGNA on
                                                              Nexstar; from
                                                          Tribune on Sinclair)
46   Greensboro-High Point-     -Sinclair                           X            64   64     2,402   2,646
     Winston-Salem, NC***       -TEGNA                       (from Sinclair)
                                -Tribune
47   Greenville-New Bern-       -Nexstar                          X              89   89     2,890   2,890
     Washington, NC***          -Sinclair                   (from Sinclair)
                                -Gray (formerly Raycom)
48   Greenville- Spartanburg-   -Meredith                          X             65   70     2,357   2,587
     Asheville-Anderson,        -Sinclair                 (from Sinclair; from
     SC/NC***                   -Nexstar                  Tribune on Sinclair)
49   Harlingen-Weslaco-         -Nexstar                           X             24   24     1,991   1,991
     Brownsville-McAllen,       -Sinclair                 (from Sinclair; from
     TX ***                                               Scripps on Nexstar)

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50   Harrisburg-Lancaster-    -Nexstar                           X             62   62       2,507   2,546
     Lebanon-York, PA***      -Sinclair                  (from Scripps on
                              -Tribune                       Nexstar)
51   Hartford-New Haven,      -Meredith                          X             73   73       2,321   2,321
     CT***                    -Nexstar                   (from Scripps on
                              -Tribune                       Nexstar)
52   Hattiesburg-Laurel, MS   -Gray (formerly Raycom)            X             90   90       5,747   5,747
                              -Nexstar                   (from Scripps on
                                                           Raycom; from
                                                        Scripps on Nexstar)
53   Honolulu, HI             -Nexstar                           X             71   78       2,892   3,349
                              -Gray (formerly Raycom)    (from Tribune on
                                                           Raycom; from
                                                        Scripps on Raycom)
54   Houston, TX***           -Fox                                             42   42       1,507   1,507
                              -TEGNA
                              -Tribune
55   Huntsville-Decatur-      -Gray (formerly Raycom)             X            80   83       2,691   2,756
     Florence, AL ***         -Nexstar                    (from Scripps on
                              -Tribune                      Raycom; from
                                                        Scripps on Nexstar)
56   Indianapolis, IN***      -CBS                                X            63   63       2,573   2,573
                              -Nexstar                  (from Scripps; from
                              -Scripps                  TEGNA on Nexstar;
                              -Tribune                     from Scripps on
                                                            Nexstar; from
                                                        Sinclair on Tribune)
57   Jackson, MS              -Gray (formerly Raycom)             X            58   58       2,457   2,542
                              -Nexstar                    (from Tribune on
                                                            Raycom; from
                                                        Scripps on Raycom;
                                                           from Scripps on
                                                              Nexstar)
58   Jacksonville, FL         -Cox*                                            64   25       2,865   3,337
                              -TEGNA


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59   Johnstown-Altoona- State   -Sinclair                            X            79   79    3,328   3,328
     College, PA                -Nexstar                  (from Sinclair; from
                                                           Scripps on Nexstar;
                                                             from Tribune on
                                                               Sinclair; from
                                                           Scripps on Sinclair)
60   Kansas City, MO***         -Meredith                            X            66   66    2,413   2,413
                                -Scripps                   (from Scripps; from
                                -Tribune                  Sinclair on Meredith)
61   Knoxville, TN***           -Gray (formerly Raycom)              X            70   70    2,791   2,791
                                -Nexstar                     (from Scripps on
                                -TEGNA                           Nexstar)
62   Lafayette, LA              -Nexstar                             X            35   78    3,479   3,479
                                -Scripps**                   (from Scripps on
                                                                 Nexstar)
63   Lansing, MI***             -Nexstar                             X            61   61    3,039   3,062
                                -Scripps                      (from Scripps)
64   Las Vegas, NV***           -Meredith                            X            84   84    2,004   2,004
                                -Nexstar                  (from Sinclair; from
                                -Scripps                       Scripps; from
                                -Sinclair                 Tribune on Sinclair)
65   Lexington, KY              -Scripps**                           X            14   46    2,861   2,861
                                -Sinclair                 (from Sinclair; from
                                                                  Scripps)
66   Little Rock-Pine Bluff,    -Nexstar                             X            83   97    2,648   3,605
     AR***                      -Sinclair                 (from Sinclair; from
                                -TEGNA                     Scripps on Nexstar)
67   Los Angeles, CA            -CBS                                              38   38    1,360   1,360
                                -Fox
                                -Tribune
68   Louisville, KY             -Gray (formerly Raycom)            X              18   37    2,490   2,490
                                -TEGNA**                    (from Scripps on
                                                                Raycom)




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69   Lubbock, TX                  -Gray (formerly Raycom)            X             64   79   2,648   3,554
                                  -Nexstar                   (from Scripps on
                                                               Raycom; from
                                                            Tribune on Raycom;
                                                              from Scripps on
                                                                   Nexstar)
70   Macon, GA                    -Sinclair                          X             80   80   3,784   3,784
                                  -TEGNA                       (from Sinclair)
71   Memphis, TN                  -Cox*                              X             98   71   2,548   2,548
                                  -Gray (formerly Raycom)    (from Scripps on
                                  -Nexstar                      Nexstar; from
                                  -Sinclair*                  Scripps on Cox)
                                  -Tribune**
72   Miami - Ft. Lauderdale,      -CBS                               X             18   18   1,582   1,579
     FL***                        -Tribune                    (from Sinclair on
                                                                   CBS)
73   Milwaukee, WI ***            -Scripps                           X             49   49   2,218   2,218
                                  -Sinclair                 (from Sinclair; from
                                  -Tribune                        Scripps)
74   Minneapolis - St. Paul, MN   -Cox*                              X             77   77   2,267   2,267
                                  -Fox                      (from Sinclair; from
                                  -Sinclair                        CBS)
                                  -TEGNA
                                  -CBS
75   Missoula, MT                 -Scripps**                                       32   82   3,820   3,820
                                  -Sinclair
76   Mobile-Pensacola (Ft.        -Meredith                 (from Sinclair; from   98   98   3,579   3,579
     Walton Beach), FL***         -Nexstar                  Scripps on Nexstar;
                                  -Sinclair                   from TEGNA on
                                                                  Nexstar)
77   Myrtle Beach-Florence, SC    -Sinclair                          X             80   86   2,691   2,961
                                  -Gray (formerly Raycom)   (from Sinclair; from
                                  -Nexstar                  Scripps on Raycom;
                                                               from Scripps on
                                                                Nexstar; from
                                                            Tribune on Nexstar)

                                                               85
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78   Nashville, TN***           -Meredith                           X            95   98     2,393   2,505
                                -Nexstar                  (from Scripps; from
                                -Scripps                      Sinclair; from
                                -Sinclair                 TEGNA on Nexstar;
                                                            from Tribune on
                                                                 Sinclair)
79   New Orleans, LA***         -Gray (formerly Raycom)             X            77   77     2,430   2,430
                                -Tribune                    (from Scripps on
                                -TEGNA                           Raycom)
80   New York, NY               -CBS                                X            49   49     1,824   1,824
                                -Fox                        (from Sinclair on
                                -Tribune                          CBS)
81   Norfolk-Portsmouth-        -Dreamcatcher*                      X            98   98     3,203   3,203
     Newport News, VA           -Nexstar                  (from Sinclair; from
                                -TEGNA                         Tribune on
                                -Tribune**                Dreamcatcher; from
                                -Sinclair                       Sinclair on
                                                          Dreamcatcher; from
                                                          Scripps on Nexstar)
82   Odessa-Midland, TX         -Nexstar                            X            50   50     2,563   2,563
                                -Gray (formerly Raycom)     (from Scripps on
                                                                 Nexstar)
83   Oklahoma City, OK***       -Griffin                            X            75   75     2,470   2,470
                                -Sinclair                    (from Sinclair)
                                -Tribune
84   Omaha, NE                  -Scripps                            X            28   32     2,865   2,935
                                -Sinclair                 (from Scripps; from
                                                              Sinclair; from
                                                          Tribune on Sinclair)
85   Orlando-Daytona Beach-     -Cox*                               X            47   19     2,278   2,281
     Melbourne, FL              -Fox                        (from Scripps on
                                                           Cox; from Tribune
                                                                 on Cox)
86   Paducah-Cape               -Gray (formerly Raycom)             X            46   46     2,932   2,932
     Girardeau-Harrisburg, MO   -Sinclair                    (from Sinclair)


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87   Panama City, FL             -Gray (formerly Raycom)            X              45   45   3,070   4,220
                                 -Nexstar                    (from Scripps on
                                                                 Nexstar)
88   Peoria-Bloomington, IL***   -Nexstar                           X              38   44   3,944   4,301
                                 -Sinclair                 (from Sinclair; from
                                                           Scripps on Nexstar;
                                                             from Sinclair on
                                                                 Nexstar)
89   Philadelphia, PA***         -CBS                               X              47   47   1,954   1,954
                                 -Fox                        (from Sinclair on
                                 -Tribune                         CBS)
90   Phoenix-Prescott, AZ***     -Fox                               X              80   80   1,798   1,798
                                 -Meredith                 (from Scripps; from
                                 -Nexstar                       Sinclair on
                                 -Scripps                     Meredith; from
                                 -TEGNA
                                                           Scripps on Nexstar;
                                                             from Tribune on
                                                                 Scripps)
91   Pittsburgh, PA***           -CBS                                X             77   49   2,672   2,672
                                 -Cox*                      (from Sinclair; from
                                 -Sinclair                  Tribune on Sinclair;
                                                           from Scripps on Cox)
92   Portland, OR Vancouver,     -Meredith                           X             97   97   2,121   2,121
     WA***                       -Nexstar                      (from Sinclair)
                                 -TEGNA
                                 -Tribune
                                 -Sinclair
93   Portland-Auburn, ME***      -Sinclair                          X              68   78   2,834   3,466
                                 -TEGNA                       (from Sinclair)
94   Providence, RI-New          -Nexstar                           X              71   85   2,853   3,713
     Bedford, MA                 -Sinclair                 (from Sinclair; from
                                                           Scripps on Nexstar)




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95    Raleigh-Durham, NC***        -Nexstar                           X             24   24   3,117   3,117
                                   -Sinclair                 (from Sinclair; from
                                                             Scripps on Nexstar;
                                                               from Tribune on
                                                                   Sinclair)
96    Richmond-Petersburg,         -Fox*                              X             95   95   2,386   2,402
      VA***                        -Gray (formerly Raycom)   (from Sinclair; from
                                   -Nexstar                  Scripps on Raycom;
                                   -Sinclair                   from Scripps on
                                   -Tribune                        Nexstar)

97    Roanoke-Lynchburg,           -Nexstar                            X            43   43   2,562   2,562
      VA***                        -Sinclair                 (from Sinclair; from
                                                             Scripps on Nexstar)
98    Rochester, NY***             -Nexstar                            X            41   73    2633   3,571
                                   -Sinclair                 (from Sinclair; from
                                                             Scripps on Nexstar;
                                                               from Tribune on
                                                                    Sinclair)
99    Sacramento-Stockton-         -CBS                                X            59   59   2,206   2.206
      Modesto, CA***               -TEGNA                      (from CBS; from
                                   -Tribune                      TEGNA; from
                                                                    Tribune)
100   Salt Lake City-St. George,   -Nexstar                            X            71   71   2,317   2,317
      UT***                        -Sinclair                 (from Sinclair; from
                                   -Tribune                  Scripps on Nexstar)
101   San Angelo, TX***            -Nexstar                            X            70   97   3,986   6,974
                                   -Sinclair                   (from Scripps on
                                   -TEGNA                           Nexstar)
102   San Antonio, TX              -Sinclair                           X            54   59   2,304   2,637
                                   -TEGNA                       (from Sinclair)
103   San Diego, CA***             -Scripps                            X            26   51   1,822   1,883
                                   -TEGNA**                      (from Scripps)
                                   -Tribune



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104   San Francisco-Oakland-San   -CBS                                X             51   51   1,793   1,793
      Jose, CA***                 -Fox                         (from Sinclair on
                                  -Nexstar                           CBS)
105   Savannah, GA                -Gray (formerly Raycom)             X             87   87   3,033   3,033
                                  -Nexstar                   (from Sinclair; from
                                  -Sinclair                  Scripps on Raycom;
                                                                from Scripps on
                                                                 Nexstar; from
                                                             Tribune on Sinclair)
106   Seattle-Tacoma, WA***       -CBS                                X             94   76   2,058   2,058
                                  -Cox*                      (from Sinclair; from
                                  -Sinclair                  Scripps on TEGNA;
                                  -TEGNA                    from Scripps on Cox)
                                  -Tribune
107   Shreveport, LA              -Gray (formerly Raycom)             X             45   45   2,764   2,764
                                  -Nexstar                    (from Scripps on
                                                                Raycom; from
                                                             Scripps on Nexstar;
                                                              from TEGNA on
                                                                  Nexstar)
108   Sioux City, IA              -Nexstar                            X             35   51   3,377   3,718
                                  -Sinclair                 (from Sinclair; from
                                                             Scripps on Nexstar)
109   Springfield-Holyoke, MA     -Meredith                           X             97   97   4,689   4,689
                                  -Nexstar                    (from Scripps on
                                                                  Nexstar)
110   St. Louis, MO***            -Meredith                           X             98   98   2,902   2,902
                                  -Sinclair                 (from TEGNA; from
                                  -TEGNA                          Sinclair)
                                  -Tribune
111   Syracuse, NY                -Nexstar                           X              66   80   2,544   3,630
                                  -Sinclair                 (from Sinclair; from
                                                            Scripps on Nexstar)
112   Tallahassee, FL             -Gray (formerly Raycom)            X              41   52   3,267   3,873
      Thomasville-GA***           -Sinclair                 (from Sinclair; from
                                                            Scripps on Raycom)

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113   Tampa-St. Petersburg-       -CBS                               X              89   89   1,674   1,677
      Sarasota, FL***             -Fox                      (from Scripps; from
                                  -Gray (formerly Raycom)   Scripps on Nexstar)
                                  -Nexstar
                                  -Scripps
                                  -TEGNA
114   Toledo, OH***               -Gray (formerly Raycom)            X              47   47   3,088   3,088
                                  -Sinclair                 (from Sinclair; from
                                                            Scripps on Raycom)
115   Tri-Cities, TN-VA           -Nexstar                           X              84   84   3,656   3,656
      (Bristol, VA; Greenville,   -Sinclair                    (from Sinclair)
      TN; Johnson City, TN;
      Kingsport; TN) ***
116   Tucson, AZ                  -Gray (formerly Raycom)              X            53   53   1,913   1,913
                                  -Scripps                   (from Scripps; from
                                  -TEGNA                     Tribune on Scripps)
117   Tulsa, OK***                -Cox*                                X            97   70   2,786   2,786
                                  -Griffin                   (from Scripps; from
                                  -Scripps                       Sinclair; from
                                  -Sinclair                  Tribune on Sinclair;
                                                            from Scripps on Cox)
118   Twin Falls, ID              -Scripps                             X            38   38   4,688   4,688
                                  -TEGNA                        (from Scripps)
119   Tyler-Longview-             -Gray (formerly Raycom)              X            91   99   3,480   3,947
      Lufkin-Nacogdoches,         -Nexstar                     (from Scripps on
      TX                          -TEGNA                        Raycom; from
                                                             Scripps on Nexstar)
120   Waco-Temple-Bryan,          -Gray (formerly Raycom)              X            59   59   2,967   2,988
      TX***                       -Nexstar                   (from Scripps; from
                                  -TEGNA                     Scripps on Nexstar)
121   Washington, DC***           -Fox                                 X            69   69   2,165   2,166
                                  -Sinclair                  (from Sinclair; from
                                  -TEGNA                     Scripps on Nexstar)
                                  -Tribune
                                  -Nexstar


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122   West Palm Beach-Ft.         -Scripps                             X              70           78        2,230       2,658
      Pierce, FL                  -Sinclair                  (from Scripps; from
                                  -Gray (formerly Raycom)        Sinclair; from
                                                             Scripps on Raycom;
                                                               from Tribune on
                                                                 Sinclair; from
                                                             Scripps on Sinclair)
123   Wheeling, WV/               -Nexstar                             X              100         100        5,404       5,404
      Steubenville, OH            -Sinclair                    (from Scripps on
                                                                   Nexstar)
124   Wichita Falls-Lawton, TX    -Gray (formerly Raycom)              X              71           81        3,011       3,853
                                  -Nexstar                     (from Scripps on
                                                                   Nexstar)
125   Wichita-Hutchinson,         -Nexstar                             X              34           36        2,680       2,804
      KS***                       -Sinclair                  (from Sinclair; from
                                                             TEGNA on Nexstar)
126   Wilkes-Barre-Scranton-      -Dreamcatcher*                       X              71           83        2,941       3,609
      Hazleton, PA***             -Nexstar                   (from Sinclair; from
                                  -Tribune**                      Tribune on
                                                             Dreamcatcher; from
                                                             Scripps on Nexstar;
                                                               from TEGNA on
                                                                   Nexstar)
127   Yakima-Pasco-               -Gray (formerly Raycom)              X              65           65        2,793       2,793
      Richland-Kennewick,         -Sinclair                     (from Sinclair)
      WA
                                                              Weighted Average        60           60        2,213       2,303


Notes:
1
  Revenue share and HHI figures are calculated based on 2017 spot advertising revenue. Station ownership status is also reflected as
of year-end 2017. Station operator status is only available as of the present day and present-day station operators are assumed to
have also operated the station in 2017, with the exception of the following: Tribune stations pending purchase by Nexstar are
counted as Tribune stations above. Raycom stations bought by Gray in January 2019 are counted as Raycom stations above.
Stations owned by Paramount Stations in 2017 are counted as CBS owned stations. Sales representative status is also only available

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 as of the present day and present-day sales representatives are assumed to have also represented the station in 2017. “From”
 designations mean that the advertisement was purchased directly “from” the identified Broadcaster Defendant and also aired on a
 broadcast station operated by that same Broadcaster Defendant. “From” and “on” designations mean that the advertisement was
 purchased directly “from” the first identified Broadcaster Defendant, but was aired “on” a broadcast station operated by a different,
 second identified Broadcaster Defendant pursuant to a joint sales agreement or other joint venture or undertaking.
 * Defendant owned but did not operate at least one station in DMA.
 ** Defendant operated but did not own at least one station in DMA. Unless otherwise noted, Defendant-associated stations in
 the DMA were both owned and operated by Defendants.
*** Cox or Katz worked with multiple Defendant owners or operators in DMA.




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